Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-1
                                123-6 Filed
                                      Filed 01/10/20
                                            10/11/19 Page
                                                     Page 1
                                                          2 of
                                                            of 46
                                                               47




                              PART I




                    FRACTIONAL OFFERING PLAN


           FIFTH AND FIFTY -FIFTH RESIDENCE CLUB
                       TWO EAST 55TH STREET
                    NEW YORK, NEW YORK 10022
             Case
             Case 1:16-cv-09390-GHW
                  1:16-cv-09390-GHW Document
                                    Document 141-1
                                             123-6 Filed
                                                   Filed 01/10/20
                                                         10/11/19 Page
                                                                  Page 2
                                                                       3 of
                                                                         of 46
                                                                            47




                                                                           TABLE OF CONTENTS

                                                                                          PART I

  Section                                                                                                                                                                         Page

  Right of Cancellation ............................................................................................................................... ................... I
  Special Risk Factors ........................................................... ................................................................ ................... ..... 3
  Introduction ..................................... ..................................... ......................................... ........... .................. ............... II
  Definitions ................................................................................... ..... .......................................................................... 18
 Description of Property and Improvements .............................................................................................................. 26
 Location and Area Information ................................................................................................................................. 32
 Schedule A - Purchase Prices and Related Information ........................................................................................... 33
 Schedule B- Club Budget ........................................................... .......................................... .... ............................. 39
 Schedule C- Condominium Budget ........................................................................................................................ 45
 Changes in Prices and Facilities ................................................................................................................................ 61
 Procedure to Purchase ....... ....... ............................................ ........................................... .......................................... 62
 Assignment of Purchase Agreements .......................................................................................... ............................. 65
 Escrow and Trust Fund Requirements ...................................................................................................................... 66
 Financing Offered by Sponsor ......... ............... ................................................................. ................... ...................... 69
 Sponsor's Club Charge Guaranty .............................................................................................................................. 71
 State of Title .......................................... .................................................................................................................... 72
 Closing of Title .................................................................. ............................ ........................................................... 73
Closing Costs .................................................................. .. ......... ..... ........ ...... .......................... ........... ........................ 75
Rights and Obligations of Sponsor ........................ .. ............... ............................. ..................................................... 77
Rights and Obligations of Club Members ................................................................................................ ................ 82
Rights and Obligations of the Club Board .................. ........... .. ................................................................................. 85
Club Reservation Procedures .................................................................................................................................... 89
Exchange Program ...................................................................... ............................................................................... 91
Rights and Obligations of Condominium Unit Owners ............. .................................................................. ............ 92
Rights and Obligations of the Condominium Board ....................................................: ........................................... 94
Management. .............................................................................................................................................................. 97
Identity of Parties .............................................................. ........................................................ ................................. 99
Documents on File ................................................................................................................................................... 102
General ......................................................................... ............................................................................ ................ I 03
                         Case
                         Case 1:16-cv-09390-GHW
                              1:16-cv-09390-GHW Document
                                                Document 141-1
                                                         123-6 Filed
                                                               Filed 01/10/20
                                                                     10/11/19 Page
                                                                              Page 3
                                                                                   4 of
                                                                                     of 46
                                                                                        47




                                                                                                   PART II

          Exhibit                                                                                                                                                                        Page           ,·

          Floor Plans of Club Units ................ .. ............ .................. ............................................................. ....... .. .................. 107
          Description of Property and Building Condition .................................................................................................... 145
          Protecting Your Family From Lead in Your Home ................. .............................................................................. 391
          List of Club Unit Furnishings ............................ ;.................................................................................................... . 409
          Purchase Agreement ....................................... ................................................. ....... ....... .............. ........ ...... .............. 413
          Deed ............................................................ ............... .... .................................................... ...................................... 427
          Club Declaration .................................................................................................. ............................ ...................... 435
          Club By-Laws .......................................... ..................................................................... .......................................... 477
          Club Reservation Procedures .................................................................................... ............................................ 499
         Club Power of Attorney .......................................................................................................................................... 513
         Fixed Week Calendar .............................................................................................................................................. 519
         Purchase Money Note .............................................................................................................................................. 525
         Purchase Money Mortgage ...................................................................................................................................... 531
         Club Management Agreement .................................................... .. ..................... ........................ ............. ................ 549
         Tax Opinion ............................................................................................................................................................. 565
         Application to the Attorney General for a Determination
            of the Disposition of Down payments ............................................................................................................... 575
         Escrow Agreement .... ........... ............ ...................................................................................................................... 583
         Condominium Declaration ........ ..................... ........................................................................................................ 591
         Condominium By-Laws ......................................................................................................................................... 637                          •
         Condominium Power of Attorney ........................................................................................................................... 725
         Certification of Sponsor and Principals .................................................................................................................. 731
         Certification of Architect. ........................................................................................................................................ 735
         Certification of Club Budget Expert ..... ....... ................ ..... .......... .............. ................................ ...... .. ..................... 739
         Certification of Condominium Budget Expert .......................... ............................................................................ . 743




                                                                                                                                                                                                    ;•




                                                                                                                                                                                                   .. .
                                                                                                                                                                                                    .

..   .                                   .     .                                                  ., .                                                    .,    0
             Case
             Case 1:16-cv-09390-GHW
                  1:16-cv-09390-GHW Document
                                    Document 141-1
                                             123-6 Filed
                                                   Filed 01/10/20
                                                         10/11/19 Page
                                                                  Page 4
                                                                       5 of
                                                                         of 46
                                                                            47



                                          RIGHT OF CANCELLATION


           A Purchaser may cancel the Purchase Agreement by mailing written notice of cancellation, postmarked
 within seven (7) business days ofthe date on which the Purchase Agreement was executed by Purchaser, to Sponsor
 at the address indicated on the cover of this Offering Plan. The right to cancel may not be waived under any
 circumstances and any instrument executed by a Purchaser which purports to waive such right shall be deemed void
 and of no effect. A Purchaser may exercise the right to cancel at will and without explanation. A Purchaser may
 cancel the Purchase Agreement without penalty or obligation and all Deposits made by Purchaser to Sponsor prior to
 cancellation shall be refunded within thirty (30) days after Sponsor receives notice of cancellation. All Closing
 Documents shall be null and void (as of the date of Purchaser's cancellation notice) and neither Sponsor nor
 Purchaser shall have any further rights, obligations or liabilities with respect to the other under the Closing
 Documents or under the Offering Plan, except for Sponsor's obligation to return all Deposits made by Purchaser and
 Purchaser's obligation to return the Offering Plan and all collateral sales materials to Sponsor.




BS5483.DOC
             Case
             Case 1:16-cv-09390-GHW
                  1:16-cv-09390-GHW Document
                                    Document 141-1
                                             123-6 Filed
                                                   Filed 01/10/20
                                                         10/11/19 Page
                                                                  Page 5
                                                                       6 of
                                                                         of 46
                                                                            47
                                                             3


                                             SPECIAL RISK FACTORS



            1.     (a)      The purchase of a Club Interest should be based upon its value as a vacation experience,
 for spending leisure time, or for other personal use, and not considered for purposes of acquiring an appreciating
 investment or with an expectation that the Club Interest may be rented or resold at a profit. Generally, there is no
 established market for the rental or resale of Club Interests and the rental and resale value, if any, is uncertain. Any
 Club Member attempting to rent or resell a Club Interest would have to compete, at a substantial disadvantage, with
 Sponsor in the rental and sale of its Unsold Club Interests. Sponsor may have a large inventory of Unsold Club
 Interests.
                     (b)       So long as Sponsor owns any Club Interest, the sale, transfer, or assignment of a Club
 Interest by a Club Member is subject to Sponsor's right of first refusal that runs with the land to purchase any Club
 Interest that is offered for resale for a period of three (3) years from the Closing Date of the Club Interest, on the
 same terms and conditions as those offered to or by a bona fide third party, including financing. Transfers,
 assignments or sales to a Club Member's immediate family or other entities related to Club Member, such as
 affiliates or subsidiaries are not subject to Sponsor's right of first refusal.

                  (c)      Use of the Club Units is limited solely to the personal, recreational and other use by a
 Club Member and Club Member's Permitted Users. A Club Unit may not be occupied by any one Person for more
 than one-hundred eighty-two ( 182) days in any calendar year.

                   (d)       Notwithstanding the fact that Club Members may rent their Club Interests and/or
confirmed reservations, the Club Interests: (i) are not being offered and sold by Sponsor with emphasis on the
economic benefits, if any, to a Club Member to be derived from the managerial efforts of Sponsor or a third party
designated or arranged for by Sponsor, for rental of Club Interests; (ii) do not involve the offering by Sponsor of
participation in a rental pool arrangement; and (iii) do not require a Club Member to hold the Club Interest available
for any part of the year, or use an exclusive rental agent or to be materially restricted in Owner's use or rental of the
Club Interest.


                  (e)      Purchasers are prohibited from listing their Club Interests for resale with any broker or
otherwise advertising, promoting or publicizing the availability of their Club Interests for sale prior to the Closing of
Title.
               (f)       See the Sections entitled "Rights and Obligations of Club Members" and "Assignment of
Purchase Agreements" for more details.


          2.       The successful operation and maintenance of the Club depends upon the ability of Sponsor to meet
its financial obligations with respect to Unsold Club Interests. Pursuant to Sponsor's Guaranty, more fully explained
in the Section entitled "Sponsor's Club Charge Guaranty", Sponsor guarantees to certain Club Members that the
Club Charges will not exceed a certain dollar amount per annum per Club Interest. In consideration of this
guarantee, Sponsor will be excused from the payment of the Club Charges which would otherwise have been
assessed against its Unsold Club Interests during the term of the guarantee. As a consequence of this exemption,
Sponsor shall pay the amount of Club Expenses incurred for the Club which exceed the total revenues of the Club
from Club Members during the term of the guarantee. Sponsor has provided no bond or other security for this
undertaking. If Sponsor is unable to meet its guarantee obligation or does not extend the guarantee in future years of
Club operation, the Club Charges assessed against Club Members may increase substantially. See the Section
entitled "Sponsor's Club Charge Guaranty" for more details.

         3.       No Club Member may make any alteration in or to any portion of the Club Property or the
Common Elements of the Condominium. No Club Member may add or modifY any kitchen or similar appliances
(including, without limitation, cooking facilities) contained in a Club Unit. See the Section entitled "Rights and
Obligations of Club Members" for more details.

         4.        While each Club Member shall have certain voting rights, it is expected that most Club Members
will not participate in the management of the Club since each Club Member has a relatively small interest and is
away for most of the year. Sponsor will control the Club Association through the appointment of all of the members



BS5483.00C
             Case
             Case 1:16-cv-09390-GHW
                  1:16-cv-09390-GHW Document
                                    Document 141-1
                                             123-6 Filed
                                                   Filed 01/10/20
                                                         10/11/19 Page
                                                                  Page 6
                                                                       7 of
                                                                         of 46
                                                                            47
                                                             4


 of the Club Board during the Sponsor Control Period. See the Section entitled "Rights and Obligations of the Club
 Board" for more details.

           5.       The Club may be developed in phases. The Hotel Unit may be subdivided in the future creating
 one or more additional Club Units and such newly created Club Units may be included in the Club, which would
 result in additional Club Interests. Sponsor reserves the right to change the phasing of additional Club Units with
 respect to floor plans, Club Unit Types, Club Unit sizes, Club Unit mixes, Club Unit numbers, numbers of Club
 Units and number of Club Interests. See the Sections entitled "Rights and Obligations of Sponsor" and "Changes in
 Prices and Facilities" for more details.

         6.       The Club Property will be subject to ordinary wear and tear. The Club Budget which is set forth                  .·
in Schedule B includes estimates for repairs to, and the replacement of furnishings in, the Club Units to be included
in the Club. The Club Budget contains a reserve line item for replacement of furnishings, although there is no
assurance that the reserve amount will be adequate or that there will not be a need to increase reserves in the future.
See the Section entitled "Schedule B- Club Budget" for more details.

         7.       Each Club Member owns a share of the undivided percentage interest in the Club Unit in which
Club Member has a Club Interest and each Club Member is a tenant in common with all other Club Members of
Club Interests in such Club Unit. Under the Club Declaration, each Club Unit included shall remain undivided,
and no Club Member may bring, or have any right to bring, any action for partition or division of such Club Unit.
See the Club Declaration in Part II for more details.

         8.        The failure of Club Members to pay Real Estate Taxes assessed against the Club Units in the Club
to the Club Association and/or the failure of the Club Association to remit such Real Estate Taxes to the taxing
authority may result in the institution or commencement by the taxing authority of an "in rem foreclosure"
proceeding and/or the sale of tax Jien(s) proceeding against one or more Club Units in the Club. fn the event the
taxing authority forecloses on the tax Jien(s) or takes the Club Unit in rem or the subsequent owner of the tax Jien(s)       ·.
forecloses on the tax lien(s), a Club Member may lose his Club Interest.

         9.       (a)     At the time a Purchase Agreement is executed, Purchaser is required to make a Deposit in
an amount equal to 20% of the purchase price. The portion of any Deposit made by a Purchaser in connection with
the purchase of a Club Interest in excess of $100,000 in the aggregate will not be federally insured. In the event a
Purchaser defaults under the Purchase Agreement, "time being of the essence" with regard to the obligations of
Purchaser thereunder, and does not cure such default within thirty (30) business days after Sponsor gives notice to
Purchaser of such default, Sponsor may, cancel the Purchase Agreement and retain, as liquidated damages, the
Deposit made by Purchaser, not to exceed ten percent (10%) of the purchase price.

                  (b)      The signing of the Purchase Agreement signifies the Purchaser's acceptance of the
condition of the Club (as represented by Sponsor in the Offering Plan) including the Building, and all Facilities
contained therein, and the Club Property, in their respective existing conditions, subject to ordinary wear and tear
between the date Purchaser signs the Purchase Agreement and delivery of the deed to Purchaser. Sponsor has no
obligation to make any repairs, improvements or decorations in or to the Building or the Facilities contained therein,
or the Club Property, except as may otherwise be set forth in the Offering Plan.

                 (c)       Although a Purchaser may obtain financing from any source, Purchaser's obligation to
purchase a Club Interest pursuant to the Purchase Agreement shall not be contingent on obtaining financing for such
purchase.

                  (d)      See the Section entitled "Procedure to Purchase" for more details.

          I 0.     Sponsor will control the affairs of the Club Association during the Sponsor Control Period which
will end on the later of: (a) sixty (60) days after the conveyance by Sponsor of ninety percent (90%) of the Club
Interests to owners other than Sponsor; or (b) five (5) years after the First Closing of a Club Interest. See the             ..·.
Section entitled "Rights and Obligations of Club Members" for more details.

         11.       Under current federal law, it is possible that the federal government could cause the sale of a Club   4   .! . "
Unit owned by a number of co-tenants in common in order to satisfy a tax lien against an individual Club Member.
This possibility is considered extremely remote however, and to Sponsor's knowledge the government has never                       ..
                                                                                                                          . '          .
   ..
BS5483,DOC
                                      ..                                 ..                                 ·• .
              Case
              Case 1:16-cv-09390-GHW
                   1:16-cv-09390-GHW Document
                                     Document 141-1
                                              123-6 Filed
                                                    Filed 01/10/20
                                                          10/11/19 Page
                                                                   Page 7
                                                                        8 of
                                                                          of 46
                                                                             47
                                            5


 taken such action. In fact, the Internal Revenue Service in I 979 issued Revenue Ruling 79-55 which held that only
 the interest owned in a timeshare condominium by a delinquent taxpayer would be subject to seizure and sale under
 a federal tax lien. It specifically stated that the interest owned by other taxpayers in the same unit would not be
 affected under these circumstances. While there is no assurance that the IRS may not take a different position in the
 future, or that applicable Law may not change, there is no reason at present to expect any such change.

          12.      Purchasers should specifically note while the Club Units will be represented on the Condominium
 Board, the Club Board has the right to appoint only one of the seven (7) members of the Condominium Board. The
 Suite Unit Owners will also have the right to appoint only one of the seven (7) members of the Condominium
 Board. Five of the seven (7) members of the Condominium Board will at all times be designated by the Commercial
 Unit Owners and as a result, neither Suite Unit Owners nor the Club Board will ever designate a majority of the
 members of the Condominium Board and will never control a majority vote thereon. The Commercial Unit Owners
 will at all times, in the aggregate, control a majority of the votes on the Condominium Board. See the
 "Condominium Declaration" in Part II for more details.

          13.      (a)   The Condominium will initially consist of Suite Units, Club Units, a Hotel Unit and
 Retail Unit and the Common Elements. Only Club Interests in the Club Units (and their appurtenant interest in the
 Common Elements) are offered pursuant to the Offering Plan.

                    (b)     The Suite Units may be used for residential (non-principal residence) and transient hotel
 purposes.

                    (c)      The Commercial Units may be used for any lawful purpose, including, without limitation,
for hotel, retail, fractional or club ownership, public event, restaurant, banquet, banking, commercial, and office
purposes. Notwithstanding the foregoing, the consent of the Hotel Unit Owner shall be required ifthe Retail Unit is
used for any purpose other than as luxury retail space. The Hotel Unit (including, among other things, the
approximately 257 transient hotel rooms and suites, ancillary areas such as banquet facilities, a front desk and
concierge station(s), shops, display vitrines, food service facilities, lounges, entertainment venues, grand public
spaces and back-of-house facilities), as of the date of the Filing Date of the Offering Plan, is being operated as, a
hotel, and the Retail Unit is being operated as one or more retail stores; and although it is anticipated that until and
for an indetenninate period of time following the recording of the Condominium Declaration such uses will
continue, no representation is made with respect to such initial, continued or subsequent uses of the Commercial
Units or with respect to who the owner(s), operator(s), tenant(s) or other user(s) of the Commercial Units may be at
any time. No income derived from any use of the Commercial Units will constitute income to the Condominium
Board or the Suite Unit Owners or the Club Members.

                   (d)     See the "Condominium Declaration" in Part II for more details.


          14.       (a)       Renovation in an operating hotel is a complicated process which requires the
coordination of numerous concurrent tasks, contractors and suppliers, all of which is subject to unanticipated delays
and difficulties and necessarily involves noise, disruption and inconvenience. Thus, for a period of time following
the First Suite Closing or First Closing of a Club Interest (through, including and beyond the Closing of Title to any
particular purchaser's Club Interest), work should be expected to be undertaken and continue by or on behalf of: (i)
Sponsor and Suite Sponsor to complete renovation of the balance of the Club Units and Suite Units; (ii) individual
Suite Unit Owners within their Suite Units (to perfonn custom renovations, etc.); and (iii) the Commercial Unit
Owners or others elsewhere in the Building (including, without limitation, in the event that additional floors of the
Building are established as Suite Units or Club Units). During at least the first year of operation, construction
workers and related personnel of Sponsor and Suite Sponsor and others may be at the Property from time to time
performing construction work, making adjustments and perfonning various other tasks related to the completion of
renovation, fitting out of, and moving into, the Suite Units and other portions of the Building.
                   (b)      Based upon the current schedule, Sponsor presently contemplates that, unless delayed by
weather, casualty, labor difficulties (including work stoppages and strikes), late delivery and/or the inability to
obtain on a timely basis or otherwise, materials or equipment, governmental restrictions, acts of god or other events
beyond its reasonable control, renovation of the Club Units will be sufficiently completed to pennit closings of title
to Club Interests to begin in or about July 2006. Prospective Purchasers should note, however, that the Club Units
will be completed at differing times over a period that may begin prior to and/or extend beyond such date. Sponsor
will have no liability to any Purchaser, nor will a Purchaser be entitled to any credit, offset or reduction in the


BS5483 .DOC
                  Case
                  Case 1:16-cv-09390-GHW
                       1:16-cv-09390-GHW Document
                                         Document 141-1
                                                  123-6 Filed
                                                        Filed 01/10/20
                                                              10/11/19 Page
                                                                       Page 8
                                                                            9 of
                                                                              of 46
                                                                                 47
                                                                  6                                                                  ·.

       purchase price for the Club Interest or otherwise be relieved from any obligations under the Purchase Agreement, in
       the event that the First Closing of a Club Interest occurs earlier or later than the targeted date or the time to complete
       or to close title to such Purchaser's Club Interest is accelerated, delayed or postponed by Sponsor, provided,
       however, that in the event the actual or anticipated commencement date of the projected first year of Club operation
       is to be delayed by six (6) months or more, Sponsor will amend the Offering Plan to include a revised budget with
      current projections and if: (i) the amended budget exceeds the projected budget set forth herein by twenty-five
       percent (25%) or more; or (ii) the First Closing of a Club Interest does not occur within twelve ( 12) months after the
      date set forth in Schedule B as the commencement date for the projected first year of club operation, then in either
      case Sponsor will offer all Purchasers (other than Purchasers who are then in default beyond any applicable grace
      period under their Purchase Agreements, if the Offering Plan has been declared effective) the right to rescind their
      Purchase Agreements within not less than fifteen (15) days after the Presentation Date of the amendment containing
      such revised budget or after such twelve (12) month period, as the case may be, and any Purchasers electing
      rescission pursuant to such offer will have their Deposit and any interest accrued thereon returned. Purchasers'
      rights as described in the preceding sentence are in lieu of any other rights or remedies which may be available
      pursuant to Law, or otherwise, all of which shall be deemed to have been waived by all Purchasers. As set forth in
      the Section of the Offering Plan entitled "Effective Date," no closing of title to any Club Interest will take place
      prior to the Offering Plan being declared effective.

                       (c)      See the Sections entitled "Rights and Obligations of Sponsor," "Effective Date" and
      "Procedure to Purchase" for more details.

               15.      No bond or other security has been posted by Sponsor to secure its obligation to pay Club Charges
      or Real Estate Taxes with respect to the Unsold Club Interests. Sponsor represents that it has the financial resources
      to pay such amounts with respect to the Unsold Club Interests and agrees to pay such amounts. In addition, no bond
      or other security will be posted by the Commercial Unit Owners or the Suite Sponsor to secure their respective
      obligations to pay Common Charges, special assessments or real estate taxes in respective of Units owned by them.

                16.      No reserve fund is being established for the Condominium. Sponsor and Suite Sponsor have
     elected not to provide for a reserve fund to be used for capital replacements or repairs. The Condominium Board, in
     its discretion, and subject to certain restrictions contained in the Condominium By-Laws, may decide in the future to
     create a reserve fund by special assessment or by increases in General Common Charges. See the "Condominium
     By-Laws" in Part II for more details.

             17.     The Building has been landmarked by the Landmarks Commission under the Landmarks Law.
     The Landmarks Law protects the improvements and landscape features of certain properties and areas which reflect
     New York City's rich cultural, social, economic, political and architectural history.

              18.     The Terraces which are adjacent to certain of the Club Units are decorative only and may not be
     used by the owners or occupants of the Club Units. Such Terraces are General Common Elements which the
     Condominium Board shall be responsible to maintain, clean, repair and replace, as needed, at the expense of all Unit
     Owners (unless the need for same is caused by or attributable to any particular Unit Owner(s) in which case the cost
     thereof incurred by the Condominium Board shall be charged to such responsible Unit Owner(s). See the
     "Condominium Declaration" in Part II for more details.

               19.      The Club Manager has a licensing arrangement with The Sheraton Corporation ("Licensor") to use
     the name "St. Regis" ("Club Licensing Arrangement"). As a consequence, the Plan of Club Ownership and the Club
     Property will be designated with the St. Regis name during the term of the Club Licensing Arrangement and the
     Plan of Club Ownership and the Club Property will be operated, managed and maintained according to the standards
     established by Licensor to protect its service mark and trademark ("St. Regis Standards"). The fees, costs, and
     expenses incurred by the Club Manager to maintain the affiliation with Licensor under the Club Licensing
     Arrangement are part of the Club Expenses. The Club Licensing Agreement may be terminated, resulting in the
     removal of the St. Regis designation from the Plan of Club Ownership and the Club Property (with or without the St.
     Regis designation remaining in connection with operation of the hotel within the Condominium), if: (a) the Club
     Manager's management contract is terminated for any reason; (b) the Plan of Club Ownership or the Club Property
     is not managed, operated, and maintained in a manner consistent with the St. Regis Standards (which could occur,
     among other reasons, if budget constraints imposed by the Club Association prevent Club Manager from so
     managing); (c) licensing fees are not paid as required by the Club Licensing Arrangement; (d) the Club Licensing
     Arrangement is terminated; (e) the Club Licensing Arrangement expires by its own terms and is not renewed; or (f)


     BS5483.DOC                                                                                                                     .·
..    .                               ..                                  ·• .                                .. .                       ·.
        Case1:16-cv-09390-GHW
        Case 1:16-cv-09390-GHW Document
                               Document123-6
                                        141-1 Filed
                                              Filed10/11/19
                                                    01/10/20 Page
                                                             Page10
                                                                  9 of
                                                                     of46
                                                                        47
                                                            7


 if customary business defaults occur. Upon certain breaches or termination events under the Club Licensing
 Arrangement, liquidated damages may be incurred as an expense of the Club Association. The license to use the
 name "St. Regis" is not part of the Plan of Club Ownership, the Club Property or the Condominium Property. The
 Club Association and the Club Members do not have any right, title, or interest in the name "St. Regis" or in any
 licensing arrangement. Purchaser may use the Condominium name for the resale or rental of a Club Interest, but is
 strictly prohibited from using the St. Regis name or marks in connection with the resale or rental of a Club Interest
 through any Person other than Sponsor, Club Manager or their affiliates. In addition to the Club Licensing
 Arrangement, a similar licensing arrangement between St. Regis and Sponsor with respect to the operation of certain
 property, which has not been declared to the Club Property or the Condominium Property, may exist.
           20.       (a)    Hotel Unit Owner has reserved to itself and/or its designee the exclusive right to apply
 for and/or grant with respect to the facade of the Property (which is otherwise a General Common Element) a
 historic preservation easement or similar right; and, in such event, the Hotel Unit Owner, and not the Condominium
 Board (nor any other Unit Owner), shall be entitled to any and all tax and other benefits if any, accruing with respect
 thereto. The granting of such an easement would have the effect of limiting or restricting the ability of the
 Condominium Board to change the outward appearance of the Building.

                   (b)       Hotel Unit Owner has reserved to itself and/or its designee the exclusive right to apply
for a historic Rehabilitation Tax Credit pursuant to the Tax Reform Act of 1986 ("Tax Reform Act") to the extent the
same now are or later become available as a result of any work done from time to time by the Hotel Unit Owner or
otherwise at the Building, although the Hotel Unit Owner is under no obligation to perform any work necessary to
qualifY for any such credits.

                   (c)      Fee Owner has expressly reserved to Hotel Unit Owner all excess air or developmental
rights (collectively, "Air Rights") otherwise appurtenant to the Property. As a result, unless Air Rights are
separately acquired therefor on behalf of the Condominium or another Unit Owner, as the case may be, any future
expansion of the Building by the Condominium Board or of a Unit by any Unit Owner (other than Hotel Unit
Owner) as may otherwise be permitted pursuant to any applicable laws and otherwise, may not be possible or may
be limited. Further, as a result of such reservation by Hotel Unit Owner, the Hotel Unit Owner has the sole right to
transfer or sell such Air Rights to the owner(s) of adjoining properties and in such case such properties may be
increased as a result of such transfer or sale. None of the Unit Owners (other than Hotel Unit Owner) or the
Condominium Board will have any interest in the rents, profits or revenues from the sale or use of any of the Air
Rights.
                   (d)      An affiliate of Sponsor, Sheraton Operating Corporation ("Hotel Name Rights Holder")
 has entered into certain agreement(s) that permit the Hotel Unit Owner and/or the Hotel Operator to use the St.
 Regis® trade name and the St. Regis® trademark (collectively, the "Hotel Name Rights Intellectual Property") in
the operation of the hotel, and Sponsor to use the Hotel Name Rights Intellectual Property in connection with the
initial sale and marketing of the Club Interests. For so long as the Hotel Unit is operating using the Hotel Name
Rights Intellectual Property, the Hotel Unit and the Building must be operated, managed and maintained according
to the standards established by the Hotel Name Rights Holder to protect the Hotel Name Rights Intellectual Property
("St. Regis Standards"). The referenced agreements may be terminated, resulting in the removal of the St. Regis
designation from the Hotel Unit if the Hotel Unit is sold, or if the Hotel Unit or the Building is not managed,
operated, and maintained in a manner consistent with the St. Regis Standards. Under no circumstances shall the
Hotel Name Rights Intellectual Property be deemed part of the Condominium Property, the property of the Club
Association or any Club Member. Neither the Condominium, the Condominium Board, the Club Association, the
Club Board, the Suite Unit Owners nor the Club Members have any right, title, or interest in the name "St. Regis" or
in any licensing arrangement. In addition, the Club Units are being marketed and sold solely by Sponsor, and not by
any other party, and no party (other than Sponsor) shall have any liability or obligation in connection with the same.
There are no guarantees that the Hotel Unit will be operated as a St. Regis® Hotel or that any Starwood Party will
operate the Hotel Unit at closing or for any period following closing. In no event shall any Club Member or the
Club Board acquire any right or interest in the Hotel Name Rights Intellectual Property, which shall at all times
remain the sole and exclusive property of the Hotel Name Rights Holder.

                 (e)      Fee Owner, Sponsor, Suite Sponsor and the Commercial Unit Owners reserve the right to
create and add additional Club Units and Suite Units (and to offer the same for sale) by subdividing Unsold Club
Units and/or Unsold Suite Units, by acquiring and/or converting portions of the Hotel Unit and/or Suite Units, and
changing the designation of such areas to Club Unit space or to change the number of rooms in, as well as the size,




BS548J.DOC
                         Case
                         Case 1:16-cv-09390-GHW
                              1:16-cv-09390-GHW Document
                                                Document 141-1
                                                         123-6 Filed
                                                               Filed 01/10/20
                                                                     10/11/19 Page
                                                                              Page 10
                                                                                   11 of
                                                                                      of 46
                                                                                         47
                                                                                     8


             layout and square foot area of, any Unsold Club Units. Sponsor expressly reserves the right, from time to time, to
             effect such changes and to amend the Offering Plan so as to reflect the same.

                       21.     (a)       The Hotel Unit shall initially be operated as a full service hotel, however, no
             representation or warranty is made that such hotel operation will continue. Additionally, Sponsor makes no
             representation with respect to the identity of the Hotel Owner, the Hotel brand under which the Hotel Unit will be
             operated, the Hotel Unit's manager or operator, tenant or licensee. In connection with the ownership of the Hotel
             Unit and in order to facilitate and integrate the operation within major portions of the Building (including the Hotel
             Unit) of a full service hotel, certain portions of the Building as more specifically set forth on the Floor Plans,
             including the passenger elevators, the lobby and the entrances and corridors, passages, areas and spaces providing                      "'!.
             ingress to and egress from the Club Units and the Suite Units, all as set forth more specifically in the Condominium
             Declaration and on the Floor Plans, will be established as Hotel Limited Common Elements and not as General
             Common Elements.
                               (b)       In connection with the operation of a hotel operation in the Building, the Hotel Operator
            will have the right to control the decoration, appearance and management of the Hotel Limited Common Elements
            as well as the hiring, retention and dismissal of lobby and building staff, the design and appearance of staff unifonns
            and other aspects of the operation of the Building which affect the business of the Hotel Operator. The costs and
            expenses in connection with the employment of the lobby and building staff and the appearance, decoration and
            management of the Hotel Limited Common Elements will be reimbursable proportionately to the Hotel Unit Owner
            by the Suite Unit Owners and the Club Unit Owners and such amounts will be assessed and collected by the Board,
            for the account of the Hotel Unit Owner, against and from the Suite Unit Owners and the Club Unit Owners as
            General Common Charges. Furthennore, to promote a consistent appearance of the Building from the outside of the
            Building, the Hotel Unit Owner will have the right to control the specifications and backings of the window
            treatments (including color) in the Units.

                               (c)       The use and access to the Hotel Limited Common Elements that serve or benefit the
            owners and occupants of the Club Units and the Suite Units will be pursuant to one or more perpetual easements in
            favor of the Suite Units and the Club Units as set forth in the Declaration. All decisions regarding the repair,
            maintenance, operation, insurance, alteration and upkeep of such areas and elements, and the expenses of the Hotel
            Operator in providing or facilitating such services, shall be made and controlled by the Hotel Operator and the cost
            thereof billed to the Condominium Board (and included in General Common Expenses and collected as General
            Common Charges) in the manner provided in the Condominium By-Laws. The Hotel Unit Owner shall have the
            right to make alterations and repairs to the areas affected by such rights of ingress and egress, provided, however,
            that in no event shall the alteration or repair be made in a manner discriminatory to the Suite Units or the Club Units
            which would preclude the exercise of, or unreasonably restrict or interfere with the enjoyment or use of, such rights
            by any owner or occupant of a Suite Unit or the Club Unit.

                              (d)       The Building's main lobby which serves as the common entrance to for the use of the
            Suite Units and the Club Units and the Hotel Unit is classified as a Hotel Limited Common Element. Each Suite
            Unit Owner and Club Member and their guests and invitees shall have the right of access to and usage thereof
            pursuant to easements granted in the Declaration. The Hotel Unit Owner shall, however, have the right to manage,
            control, insure, decorate and maintain such lobby area and a portion of the costs thereof will be reimburseable
            proportionately to the Hotel Unit Owner by the Suite Unit Owners and the Club Unit Owners as reflected in the
            projected budget for the first year of condominium operation set forth as Schedule B.

                              (e)            See the "Condominium Declaration" in Part II for more details.

                      22.      {a)      Under no circumstances shall any Purchasers and offerees under the Offering Plan (or
            their purchasers, Occupants, Invitees, any successors or assigns of any of the foregoing, or any other party) have any         ..•.
            claim or recourse whatsoever against or privity with Fee Owner, any Commercial Unit Owner, the Club Sponsor or
            Starwood or any of their respective affiliates (other than Sponsor), or any of their respective officers, directors,
            partners, members, managers, shareholders, agents, employees or successors-in-interest or other party/ies claiming
            through, in connection with the Offering Plan, the renovation of the Club Units (or any other Unit in the                 \   ...·:
            Condominium or element thereof), any "fiscal" matters (e.g., adequacy of budgets, reserves, etc.) or the purchase of
            a Club Interest or any other matter relating to the Building.

                            (b)     None of the Exculpated Parties (defined below) makes any representation, warranty or
            covenant whatsoever concerning: (i) any of the matters contemplated in the Offering Plan or in the Condominium
                                                                                                                                                     .
                                                                                                                                                     .
                                                                                                                                          ..     0   0




            BS5483.00C
                                                                                                                                      '        ."'
•   •   0
                                     •   •     0
                                                                             •   •       0
                                                                                                              •   •   0
           Case
           Case 1:16-cv-09390-GHW
                1:16-cv-09390-GHW Document
                                  Document 141-1
                                           123-6 Filed
                                                 Filed 01/10/20
                                                       10/11/19 Page
                                                                Page 11
                                                                     12 of
                                                                        of 46
                                                                           47
                                                            9


 Documents, the Club Documents, or in any Escrow Agreement or any other agreement entered into or document
 made in connection with the purchase of any Club Interest (all of the foregoing, the "Offering Plan-Related
 Documents"); (ii) the Property, the Club Property or any of the Units, Common Elements or fixtures, improvements
 or other items located in the Property or the Units (as they now or hereafter may be constituted), or the permitted or
 intended use of any thereof, or the condition or merchantability of any thereof; (iii) any financial matter or budget
 described in the Offering Plan or in the Offering Plan-Related Documents, including the adequacy of any reserves
 proposed at any time to be established in the Offering Plan or the Offering Plan-Related Documents; (iv) the
 services or utilities to be provided to the Club Units or in the Building; or (v) the use by any person of any portion of
 the Property; nor does any Exculpated Party make any representation or warranty as to the truth, accuracy or
 completeness of the Offering Plan; it being understood that the Exculpated Parties shall have or be subject to
 absolutely no liability whatsoever under, or in connection with, any such matters and, further, that the initial
 purchasers of any Club Interests and each and every one of their successors and assigns shall have and be deemed to
 have expressly released the Exculpated Parties from any such liability and shall be deemed to have expressly
 accepted and ratified the foregoing.

                    (c)     The term "Exculpated Parties" includes any or all of the following: Starwood Hotels &
 Resorts Worldwide, Inc.; SLT Palm Desert, L.L.C.; SLT Realty Limited Partnership; Prudential HEI Joint Venture;
 SLT St. Louis, L.L.C.; Fifth A venue Hotel Suites LLC; and/or any and all affiliates, subsidiaries, directors, officers,
 employees, direct or indirect shareholders, partners, members, managers, agents, employees, participants or other
 owners of beneficial interests in or of any of the foregoing, together with any successors or assigns thereof, or
 parties claiming through them, but not including Sponsor.

         23.       (a)      There will be signs, notices, advertisements and illuminations (collectively "Signage") on
various exterior portions of the Building, on or at windows and in interior public spaces of the Building, which may
be affixed by Sponsor, Suite Sponsor, the Condominium Board and/or one or more of the Commercial Unit Owners,
all as and to the extent provided in the Condominium Declaration and/or Condominium By-Laws. Sponsor makes
no representation and shall have no liability whatsoever with respect thereto, except that the same shall comply with
applicable Legal Requirements.
                    (b)       In addition, among other things: (a) Hotel Unit Owner (or its designee) and its successors
and assigns, shall, to the extent permitted by Law, have an easement to place, erect, maintain, repair, replace and
improve, from time to time, one or more signs, canopies, flags, flagpoles, lighting, lighting elements or awnings or
other protrusions or decorative elements on the Property, including without limitation, on the exterior of the walls
(including the balconies) of the Building, for the purposes of advertising or promoting or enhancing the operation of
the hotel within the Hotel Unit or the sale or rental of all or any portion of the Hotel Unit, and/or the operation of
any business of a tenant or occupant of all or any portion of the Hotel Unit; (b) Retail Unit Owner (or its designee)
and its successors and assigns, shall, to the extent permitted by Law (and subject to the consent of Hotel Unit
Owner), have an easement to erect, maintain, repair and replace, from time to time, one or more signs, canopies,
flags, flagpoles, lighting, lighting elements or awnings or other protrusions on the Property, including without
limitation, on the exterior of the walls of the Building, in connection with the operation of any business of a tenant
or occupant of all or any portion of the Retail Unit; (c) each of Sponsor and the Club Sponsor (or their respective
designee(s)) and their respective successors and assigns as the owner(s) of any Unsold Units or Unsold Club
Interests, shall, to the extent permitted by Law (subject to the consent of Hotel Unit Owner), have an easement to
erect, maintain, repair and replace, from time to time, one or more signs, canopies, flags, flagpoles, lighting, lighting
elements or awnings or other protrusions on the Property, including without limitation, on the exterior of the walls
of the Building, for the purposes of advertising the sale or lease of any Unsold Unit or Unsold Club Interests.

                  (c)      In addition, among other things, Hotel Unit Owner (or its designee) shall also have an
easement to erect, maintain, repair and replace lights and lighting fixtures and to erect maintain and replace satellite
communication equipment and similar equipment, as permitted by Law, on the roofs and facade of the Building and
elsewhere on the Common Elements which shall entitle the holder of such easement to utilize such easement for its
own account or the account of any licensee for the purpose of servicing the Condominium or any other building or
area.

                  (d)      See the "Condominium Declaration" and "Condominium By-Laws" in Part II for more
details.




BS5483.DOC
                  Case
                  Case 1:16-cv-09390-GHW
                       1:16-cv-09390-GHW Document
                                         Document 141-1
                                                  123-6 Filed
                                                        Filed 01/10/20
                                                              10/11/19 Page
                                                                       Page 12
                                                                            13 of
                                                                               of 46
                                                                                  47
                                                                  10


                24.      The Hotel Unit is currently and will, following submission of the Property to condominium
      ownership, be subject to various union contracts. Since certain services within the Building will be provided by
      Hotel Unit Owner (or Hotel Operator), this will entail the use of union personnel. Accordingly, among other things,
      all Alterations by the Club Association shall be performed in a manner which will not interfere with, or cause any
      labor disturbances or stoppages in, the work of Condominium employees, hotel employees or other contractors or
      subcontractors employed in the Units or the Building (which may result from, among other things, the use of non-
      union labor); and in all events, in compliance with the Condominium Declaration, the Condominium By-Laws, the
      Condominium Rules and Regulations, the overall Bui !ding Standards and all Laws. In furtherance of the foregoing,
      Hotel Unit Owner may require, as a result of its control over the Condominium Board, that the Condominium also
      assume and subject itself to the applicable union contracts.

               25.      The Description of Property and Building Condition set forth in Part II of the Offering Plan
     identifies certain maintenance work and/or repairs at the Property which Sponsor's and Suite Sponsor's Architect
     recommends addressing. As noted in the Offering Plan, Sponsor or Suite Sponsor has corrected or caused to be
     corrected or perfonned certain of such items and/or intends to cause the same to be done. However, Sponsor or
     Suite Sponsor does not intend to perfonn or correct certain other noted items. These items include and the
     approximate cost to correct same are as follows: (i) as described in Section H(l) of the Description of Property and
     Building Condition: (a) resloping certain areas of the subcellar mechanical room to facilitate optimal drainage
     ($10,500); (b) repairing insignificant and non-structural cracks in certain subcellar area floors and flooring ($3,500);
     (ii) as described in Section H(2) of the Description of Property and Building Condition, (a) address minor
     deterioration in underside of floor framing slabs and beams, and concrete encasement of slab ($5,500); (b)
     mitigation of dampness on cellar slab, metal deck and steel beams ($10,000); (c) replacement of broken floor tiles in
     cellar level kitchen spaces ($2,500); (d) scraping of steel beam in housekeeping storage area ($2,800); (e) repair of
     loose ceiling tiles in cellar level laundry chemical storage room ($750); (iii) as described in Section H(9) of the
     Description of Property and Building Condition, the insignificant conditions noted regarding the interior stairwells
     of the Building (e.g., minor cracks, flaking and rust possibly due to a leak) ($4,000); (iv) as described in Section
     L(6) of the Description of Property and Building Condition, any structural steel or louver repair or replacement work
     in connection with the cooling towers, CT-2 and CT-3 ($75,000); and (v) with respect to the crack at the northeast
     comer of the Building as noted in item 7 on page 5 of the Local Law II Report (attached as an exhibit to the
     Description of Property and Building Condition), any repair work which may be required other than sealing of such
     crack ($75,000). As noted in the Description of Property and Building Condition (Section H(2)), "no major signs of
     distress were noted ... and the structural items of concern mentioned in [the Description of Property and Building
     Condition] are considered minor and can be remedied as part of a general building maintenance program."


                                                                                                                                      •




                                                                                                                                     ...•




                                                                                                                                      .·
                                                                                                                                            ·.
..   BS5483.DOC
                       ..                                  .. .                               ..                                ..
         Case
         Case 1:16-cv-09390-GHW
              1:16-cv-09390-GHW Document
                                Document 141-1
                                         123-6 Filed
                                               Filed 01/10/20
                                                     10/11/19 Page
                                                              Page 13
                                                                   14 of
                                                                      of 46
                                                                         47
                                                              ll


                                                     INTRODUCTION


 Nature of the Transaction

           A plan for condominium ownership of the Land and Building known as The St. Regis Hotel located at Two
 East 55th Street, New York, New York ("Property") pursuant to the terms of Article 9-B of the Real Property Law of
 the State of New York ("Condominium Acf') will be established by the filing of a Condominium Declaration in the
 Register's Office. The Condominium will be known as "The Fifth and Fifty-Fifth Condominium". The
 Condominium will consist of one (I) Hotel Unit, one (I) Retail Unit, twenty-four (24) Suite Units on Floors I 0 and
 II and twenty-two (22) Club Units on Floors 8 and 9.

           SLT Palm Desert, L.L.C.; SLT Realty Limited Partnership; Prudential HEI Joint Venture; and SLT St.
 Louis, L.L.C., (collectively, "Fee Owner") acquired the Property, an approximately 22,554 square foot parcel, and
 the existing improvements located at Two East 55th Street, New York, New York in 1998. Fee Owner owns the
 Property acting as a joint venture controlled by Starwood Hotels & Resorts Worldwide, Inc. ("Starwood').
 Following the recording of the Condominium Declaration, fee title to the Club Units will be conveyed to St. Regis
 Club, New York Inc. ("Sponsor"), an entity affiliated with, and controlled by, Starwood.
          This offering plan ("Offering Plan") is presented for the sale to the public of Club Interests in the Club
 Units by Sponsor.

           Either before or after the recording of the Declaration, the areas of the present Building which will
 constitute the Club Units offered hereunder will be renovated and refurbished (including the installation of new
 furniture, upgraded fixtures, finishes, carpeting, systems, wall treatments, etc.) as set forth in the Description of
 Property and Specifications set forth in Part II of the Offering Plan.

The Offering Plan

           The purpose of the Offering Plan is to set forth in detail all material facts relating to the offering of the Club
 Interests in the Club Units in the Club. The Offering Plan contains all of the detailed terms of the transaction.

       Sponsor may from time to time amend the Offering Plan by filing an amendment with the New York State
Department of Law ("Department of Law") and serving such amendment on Purchasers and Club Members.

         The Offering Plan is presented in two parts which together constitute the entire Offering Plan. Part I sets
forth a general description of the Offering Plan and Part II contains the basic documents necessary to effectuate the
provisions of the Offering Plan. Also included in Part II is a detailed description of the Property, an opinion as to
certain tax matters discussed in the Offering Plan, certifications of Sponsor and certain experts. Copies of the
Offering Plan, including all documents referred to herein and all Exhibits submitted to the Department of Law in
connection with the filing of the Offering Plan will be available for inspection by prospective Purchasers and their
attorneys without charge and for copying at a reasonable charge at Sponsor's office. All of these documents are
important and should be carefully read by prospective Purchasers. Prospective Purchasers are also advised to
consult with their own attorneys or other advisers before agreeing to purchase. The Offering Plan may be borrowed
upon payment of a one hundred ($100) dollar deposit, which amount will be fully refunded upon either (i) the
prompt return of the Offering Plan in good condition or (ii) the execution by the prospective Purchaser of a Purchase
Agreement subsequently accepted by Sponsor.

         All capitalized terms used in the Offering Plan shall have the meanings ascribed thereto in the Section of
the Offering Plan entitled "Definitions", unless otherwise indicated.

Offering of Club Interests for Sale

        Club Interests are offered for sale in Club Units located on Floors 8 and 9 by Sponsor under the Offering
Plan. The prices for each of the Club Interests offered under the Offering Plan are listed in the Section entitled
"Schedule A - Purchase Prices And Related Information" ("Schedule A"). THESE PRICES HAVE BEEN SET BY
SPONSOR AND ARE NOT SUBJECT TO APPROVAL BY THE DEPARTMENT OF LAW OR ANY OTHER
GOVERNMENTAL AGENCY.



BS5483 .DOC
              Case
              Case 1:16-cv-09390-GHW
                   1:16-cv-09390-GHW Document
                                     Document 141-1
                                              123-6 Filed
                                                    Filed 01/10/20
                                                          10/11/19 Page
                                                                   Page 14
                                                                        15 of
                                                                           of 46
                                                                              47
                                                           12


           Sponsor reserves the right to limit the number of Club Interests sold to any Purchaser and to make bulk
                                                                                                                              ..
 sales of Club Interests.

         Prices are negotiable and different Purchasers may pay different prices for nearly identical Club Interests
 depending on the time purchased.

           There are no limitations on who may purchase Club Interests in the Club, except that Sponsor will not
 accept a Purchase Agreement from any individual under eighteen (18) years of age or and Person whose name is
 identified on the list of Specially Designated Nationals and Block Persons generated by the office of Foreign Assets
 Control of the U.S. Department of the Treasury or any successor agency.

           Sponsor shall not discriminate against any Person because of race, creed, color, sex, sexual orientation,
 disability, marital status, age, ancestry, national origin or other ground proscribed by Law. No binding obligation
 will arise for the sale of a Club Interest unless and until a Purchase Agreement executed by both Purchaser and
 Sponsor has been exchanged and Sponsor has collected the funds constituting Purchaser's required Deposit
 thereunder (see the Section of the Offering Plan entitled "Procedure to Purchase" for more details).

       THE PURCHASE OF A CLUB INTEREST HAS MANY SIGNIFICANT LEGAL AND FINANCIAL
 CONSEQUENCES. THE ATTORNEY GENERAL OF THE STATE OF NEW YORK STRONGLY URGES                                              .·
 YOU TO READ THIS OFFERING PLAN CAREFULLY BEFORE THE EXPIRATION OF THE SEVEN (7)
 BUSINESS DAY CANCELLATION PERIOD (SEE PAGE I).

 The Club

            Each Club Unit committed to the Club will be divided into fifty-two (52) Club Weeks. Each Club Week
will consist of seven (7) consecutive days. Sponsor intends (but is not obligated) to sell Club Weeks in increments of
four to create a "Club Interest". A Club Interest means an interest in a Club Unit submitted to the Club Declaration
which gives the Club Member the right to reserve up to twenty eight (28) days (four Club Weeks) in a Club Unit
every Use Year. Each Club Interest includes the right to confirm the reservation of seven (7) consecutive days for
the time period and Club Unit referenced on the Club Member's deed. This period oftime is called "Fixed Time".
The Club Interest also includes the right to use a maximum of fifteen (15) weekdays and six (6) weekend days (as
listed on the Club Calendar) for a maximum total of twenty one (21) days. This period of time is called "Float
Time". At the beginning of the Priority Reservation Period, the Club Manager will automatically reserve the Fixed
Time assigned to each Club Member. Floating Time may be reserved during two reservation periods. The first
reservation period for Floating Time is the Priority Reservation Period that begins September I and ends September
30 prior to the beginning of the Use Year. The second reservation period for Floating Time is the Open Reservation
Period that begins November I prior to the beginning of the Use Year and ends the last day of the following Use
Year. Reservations made during the Priority Reservation Period are made using a rotation priority system based on
each Club Member's assigned priority Jetter. The order of selection rotates on a yearly basis. Reservations made
during the Open Reservation period will be confirmed on a first come, first served basis.
          Sponsor anticipates that twelve (12) Club Interests will be sold in each Club Unit and the remaining Club
Weeks in each Club Unit will be conveyed by Sponsor to the Club Association for use in the reservation system,
maintenance and rental. Sponsor has reserved the right to sell individual Club Weeks or Club Interests consisting of
less than four Club Weeks or twenty eight (28) days. Each Club Interest carries with it the right to use the amount of
Fixed Time and Floating Time assigned to that Club Interest, together with the right to use, possess and enjoy a Club
Unit, commencing at check in on the first day of each confirmed reservation and ending at check out on the last day
of the confirmed reservation, subject to the Reservation Procedures. The Reservation Procedures currently provide
for a Noon check out and a 4:00 p.m. check in, with the period between check out and check in times reserved for
servicing a Club Unit. Each Purchaser should review the Reservation Procedures set forth in Part I of the Offering
Plan for information about how Club Weeks will be reserved and used.

          Under the Offering Plan, each Purchaser of a Club Interest wi II acquire a 4/52 undivided interest in a Club
Unit, as tenant-in-common with all other Purchasers of Club Interests in such Club Unit. The purchase of a Club
Interest is a purchase of a portion of real estate and, therefore, each Purchaser will receive a deed at closing
representing the Club Interest acquired. Ownership of a Club Interest entitles Purchaser, subject to the terms and
conditions set forth in the Club Documents, to use and occupancy of the Club Unit set forth in Club Member's deed        ... ·. .
for the Fixed Time portion of Club Member's Club Interest and use and occupancy of a Club Unit Type set forth in
Club Member's deed for the Floating Time portion of Club Member's Club Interest. Notwithstanding, the specific


BS5483 .DOC

                ..   .                          ..   .                            ..   .
        Case
        Case 1:16-cv-09390-GHW
             1:16-cv-09390-GHW Document
                               Document 141-1
                                        123-6 Filed
                                              Filed 01/10/20
                                                    10/11/19 Page
                                                             Page 15
                                                                  16 of
                                                                     of 46
                                                                        47
                                                             13


 Club Interest acquired, by acceptance of a deed, each Purchaser acknowledges and agrees that all Club Units in the
 Club shall be available for use by all Purchasers for the Floating Time portion of all Club Interests in accordance
 with the terms of the Club Documents. Sponsor shall subject a Club Unit to the terms ofthe Club Documents on or
 before the recording ofthe first deed to a Purchaser of a Club Interest in such Club Unit.

             Club Members are strictly prohibited from subdividing their Club Interests.

 Number and Type of Club Units

          The Club may be developed in phases. Club Units are included in the Club by the recording of a Club
 Declaration and amendments to the Club Declaration in the Register's Office.

            There will be twenty-two (22) Club Units on Floors 8 and 9 having an aggregate of two hundred eighty-six
 (286) Club Interests, consisting of four (4) studios, six (6) one-bedrooms and twelve ( 12) two-bedroom duplex Club
 Units ranging in size from approximately 474 to 1,593 square feet which will be completely furnished. The
 approximate square footages for each of the Club Units are set forth on Schedule A and on the Floor Plans set forth
 in Part II ofthe Offering Plan.

         The "Description of Property and Building Condition" sets forth in Part II of the Offering Plan contains a
Schedule of Personal Property to be included in each Club Unit. Set forth in Part II of the Offering Plan are Floor
Plans of the Club Units. The square footages set forth on the Floor Plans are approximate and subject to normal
construction variances and tolerances. Sponsor reserves the right to make changes due to unforeseen conditions in
accordance with this Offering Plan.

Club Charges

        Club Members shall be responsible for annual Club Charges every Use Year which are comprised of Club
Expenses and Real Estate Taxes.

          The total annual Club Charges for any fiscal year of the Club Association shall be assessed to the Club
Interests in proportion to their Club Interest Allocation, subject to: (a) any Club Expense caused by the misconduct
of any Club Member(s) which may be assessed exclusively or on such other equitable basis as the Club Board shall
determine against such Club Member(s); and (b) any expenses which are charged equally to the Club Units.

Sale Subject to Club Documents

         The right to reserve, use and occupy a Club Unit, is subject to the terms and conditions set forth in the
Club Declaration, the Club By-Laws and Club Reservation Procedures, as the same may be amended from time to
time, and is on a first-come, first-served basis.

Club Amenities
          Each Club Unit will contain amenities as part of the furnishings more fully set forth in the List of Personal
Property set forth in Part II of the Offering Plan, which shall be installed prior to Closing. Club Members will have
access to certain hotel services on the same basis as hotel guests. Hotel services initially available to Club Members
and Occupants of Club Units include the spa facilities, concierge and transportation services, as well as various
restaurants and in-room dining services. Club Members may be required to pay fees for certain services offered at
the spa, but only to the extent such fees are also charged to hotel guests. Club Members will be responsible for all
food, beverage and dining service charges at the same rate as guests of the Hotel Unit.

Additional Phases

         The Hotel Unit and/or the Suite Units and/or the Club Units may be subdivided in the future into one or
more additional Units and such newly created Units may be included in the Club, in the sole discretion of Sponsor,
pursuant to a duly filed amendment to the Plan.




BS5483.DOC
             Case
             Case 1:16-cv-09390-GHW
                  1:16-cv-09390-GHW Document
                                    Document 141-1
                                             123-6 Filed
                                                   Filed 01/10/20
                                                         10/11/19 Page
                                                                  Page 16
                                                                       17 of
                                                                          of 46
                                                                             47                                                 ·-
                                                            14


 Exchanges

           The Club Association may endorse, but has not at this time endorsed, an internal or external exchange
 program. Until the Club Association enters into a binding agreement with an exchange company, which
 satisfactorily affects the costs of administration, front desk, and other services provided to exchange users, and
 provides for such terms and provisions as exchange trading power, exchange user liability, and the procedures for
                                                                                                                           .'
 confirming exchanges, the Club Association will not recognize or honor external exchanges. In the event the Club               \:
 Association does endorse an internal or external exchange program in the future, it will be disclosed in a duly filed
 amendment to the Plan                                                                                                     .,

 Basic Aspects of Club Ownership
                                                                                                                          ·.
          When a Purchaser acquires a Club Interest in a Club Unit, Purchaser shall be entitled, depending upon the
 type of Club Interest owned, and subject to the terms and conditions set forth in the Club Documents, to use, and
 occupancy of a Club Unit and use of the Hotel Limited Common Elements.

         A Purchaser of each Club Interest shall own a 4/52 undivided portion of a specific Club Unit in the Club as
tenant-in-common with all other Purchasers of Club Interests in that same Club Unit. Purchaser shall be responsible
for Club Charges which are comprised of Club Expenses and Real Estate Taxes.

         The Club Association will be formed for the purpose of managing, operating and maintaining the Club
Property and the Club reservation system pursuant to the Club Documents. Each Purchaser of a Club Interest shall
have membership and voting rights in the Club Association on the basis of one vote per Club Interest. The Club
Association will delegate its management, maintenance and operation duties for the Club to the Club Manager.

         Each Purchaser is responsible to the Club Association for all regular Club Charges and special Assessments
 and personal charges under the Club Documents, beginning in the calendar year in which Closing occurs. Non-
assessed personal charges, such as long distance telephone charges, additional housekeeping services, fees for
certain hotel services (such as room service or spa treatments) will be based on a fee per service basis. Sponsor is
responsible for paying Club Charges on the Club Interests it owns, except during the period Sponsor's Club Charge
Guaranty is in effect. In addition, Sponsor will pay any deficiency between the amounts assessed and the Club
Charges necessary to operate the Club during fiscal year 2006. Purchaser's Club Charges and personal charges may
be changed, increased or decreased if the cost to manage or operate the Club increases or decreases in the future.
Operating funds for the Club Association will be deposited in separate accounts controlled by the Club Manager and
will not be commingled by the Club Manager with other funds held by the Club Manager for the benefit of other
unrelated owners' associations or with its own funds. Reserve funds will be maintained in separate accounts from
operational funds. The Club Manager must account to the Club Association for receipt and disbursement of Club
Association funds and is required to provide a financial report for each calendar year in accordance with the
requirements of the Club Documents. Sponsor has no right to borrow from the maintenance or reserve funds, nor
may Sponsor authorize borrowing from the funds by any other parties. The Club Manager controls and disburses
the funds of the Club Association. The Club Association's budget and billing cycle are currently prepared on a
calendar year basis.

          Sponsor will control the Club Association through the appointment of all members of the Club Board
during the Sponsor Control Period. Sponsor may, at its sole discretion, relinquish control of the Club Board at any
earlier time. To the extent that the Condominium Documents provide for representation of the Club Units on the
Condominium Board, all such representatives shall be selected by the Club Board on behalf of the Club Members.
All votes affecting the Condominium required under the Condominium Documents shall be cast by the Club Board
Member on behalf of the Club Association.

          Use of the Club Property is subject to the terms and conditions of the Club Documents and is limited solely
to the use of Club Members and their Permitted Users.

         So long as Sponsor owns any Club Interest, the sale, transfer, or assignment of a Club Interest by a Club
Member is subject to Sponsor's right of first refusal that runs with the land to purchase any Club Interest that is
offered for resale for a period of three (3) years from the Closing Date of the Club Interest, on the same terms and
                                                                                                                          .     ~




conditions as those offered to or by a bona fide third party, including financing. Transfers, assignments or sales to a             .·


BS5483.00C

        ·•                                .. .                               .. .                               ..   .
          Case
          Case 1:16-cv-09390-GHW
               1:16-cv-09390-GHW Document
                                 Document 141-1
                                          123-6 Filed
                                                Filed 01/10/20
                                                      10/11/19 Page
                                                               Page 17
                                                                    18 of
                                                                       of 46
                                                                          47
                                                              15


 Club Member's immediate family or other entities related to Club Member, such as affiliates or subsidiaries are not
 subject to Sponsor's right of first refusal.

           Each Club Unit is taxed as a separate tax lot for purposes of Real Estate Taxes. Each Club Member will be
  required at closing to execute and deliver to the Club Association a Club Power of Attorney, the form of which is set
  forth in Part II of the Offering Plan, designating the Club Association for Real Estate Taxes purposes only as the
 "record owner" of the Club Unit, and "a person claiming to be aggrieved by any assessment" on the Club Unit.
  Pursuant to the Club Power of Attorney, the Club Association will have the power, among other things, to: (a)
 complete and file an owner's registration card and "in rem" card naming the Club Association as owner to receive
 any notices or bills for Real Estate Taxes, (b) act as agent of Club Member for the service of process or the receipt
 of any notice in any "in rem foreclosure" proceeding instituted or commenced by or on behalf of the City of New
 York, (c) act as agent of Club Member for the service of process or the receipt of any notice in any sale of tax lien(s)
 or foreclosure of tax lien(s), (d) pursue, appeal, settle and/or terminate any "in rem foreclosure" or sale of tax lien(s)
 proceeding or action, (e) commence, pursue, appeal, settle and/or terminate any administrative and certiorari
 proceedings to obtain reduced real property assessments and Real Estate Taxes and (f) do any thing or take any
 action set forth in subdivision (5) of the Club Power of Attorney and the Club Declaration. The Club Power of
 Attorney provides that Club Member expressly waives the right to do any of the foregoing things delegated by Club
 Member to the Club Association. Club Members will be responsible for the payment of their allocated share of Real
 Estate Taxes for the Club Unit. The Club Unit in which a Club Member purchased a Club Interest will be subjected
 to a lien arising from the non-payment of Real Estate Taxes assessed against the Club Unit. Real Estate Taxes
 assessed against each Club Unit will be collected by the Club Association from the Club Members of each Club
 Unit as part of the Club Charges. The Club Association will pay the Real Estate Taxes to the City of New York
 and/or the New York City Water Board on behalf of the Club Members.

         The Club Association will obtain "all risk" insurance with an agreed amount replacement value policy.
The Club Association will also procure public liability insurance for the Club. The cost of any insurance obtained
and maintained by the Club Association is a Club Expense and will be included in the Club Budget. No insurance
other than that obtained and maintained by the Club Association has been obtained for a Club Member. If desired,
each Club Member shall obtain insurance coverage upon the Club Member's personal property at the Club Member's
own expense, and such insurance shall not be the responsibility of the Club Association.

          The cost of operating the Club will be borne entirely by the Club Members (except to the extent that
Sponsor may assume a portion of such cost pursuant to Sponsor's Club Charge Guaranty). As more particularly set
forth in the Club Documents, the Club Board will determine the amount of the Club Expenses. On an annual basis,
or at such other times as the Club Board determines, the Club Association will assess Club Members for Club
Charges to meet Club Expenses and Real Estate Taxes. The Club Charges allocated to each Club Interest are set
forth in the Section of the Offering Plan entitled "Schedule B - Club Budget". Set forth in Part II of the Offering
Plan is a "Certification of Club Budget Expert".

          Sponsor may designate one or more Club Interests to be used for maintenance purposes. Sponsor may, in
its sole discretion, convey such Club Interests to the Club Association for no consideration. The Club Association
will, however, be responsible for paying all closing costs, including transfer taxes and recording and filing fees, as
well as any future Club Expenses, Common Expenses and Real Estate Taxes attributable to such Club Interests.

Basic Features of Condominium Ownership

          The Club Units are located in a mixed-use Condominium. As such, each of the Club Units in the Club are
subject to the terms and conditions of the Condominium Documents. Club Members will have representation on the
Condominium Board through the Club Association. Each Club Member owns, in common with the owners of all
other Units, an undivided interest in (and right to use) the Common Elements of the Condominium, including the
Hotel Limited Common Elements in accordance with the easements granted in the Condominium Declaration. The
rights of a Club Member under the Condominium Documents shall be exercisable only by the Club Association
through the Club Board Member.

         The Property will be submitted to the provisions of the Condominium Act by the recording of a
Condominium Declaration in the Register's Office. The Condominium will comply with all statutes and regulations
applicable to condominiums in the State ofNew York.




BS5483 .DOC
             Case
             Case 1:16-cv-09390-GHW
                  1:16-cv-09390-GHW Document
                                    Document 141-1
                                             123-6 Filed
                                                   Filed 01/10/20
                                                         10/11/19 Page
                                                                  Page 18
                                                                       19 of
                                                                          of 46
                                                                             47
                                                             16

                                                                                                                                ..
          The cost of operating the Building will be borne entirely by the Unit Owners in proportion to their
 respective share of the Common Interests. As more particularly set forth in the Condominium Documents, the
 Condominium Board will determine the amount of Common Expenses. On a monthly basis or at such other times as
 the Condominium Board determines, the Condominium Board will assess Unit Owners for Common Charges to
 meet Common Expenses. Such Common Charges will be assessed against Unit Owners in proportion to their
 respective Common Interests in accordance with Sections 339-i and 339-m of the Condominium Act. The Common
 Charges for each Unit are set forth in the Section of the Offering Plan entitled "Schedule C - Condominium
 Budget". Set forth in Part II of the Offering Plan is a "Certification of Condominium Budget Expert".

         The Condominium Board will be solely responsible for maintaining casualty and liability insurance with
respect to the Common Elements. See the Section of the Offering Plan entitled "Rights and Obligations of the                    .·
Condominium Board" for a more complete discussion of the foregoing.

Suite Units

         The Condominium will include a total of twelve (12) Suite Units located on the tenth floor of the Building.
The Suite Units are being offered for sale by Suite Sponsor pursuant to a separate Offering Plan. The Suite Units are
being sold on a whole ownership basis.

Hotel Unit

          The Hotel Unit is presently being operated as The St. Regis® New York, a full service luxury hotel. A
1904 Beaux Arts landmark in the heart of midtown Manhattan, The St. Regis® provides the atmosphere and
attentive service found only in the most gracious residences of that era. Yet it still keeps up to date with modem
amenities, such as high speed Internet access available in all guest and meeting rooms. Its 257 guest rooms and
suites feature Louis XVI-style furniture, crystal chandeliers suspended from high ceilings, deeply carved crown
moldings and wainscoting, marble baths, and silk wall coverings. Most recently, it was named to both Conde Nast
Traveler's 2002 Gold List and Conde Nast Traveler's 2001 Reader's Choice Awards List. The hotel has been
awarded both the 2003 Mobil Travel Guide Five-Star Award as well as the AAA Five Diamond Award.
          In addition to guestrooms, the facilities of The St. Regis® New York currently include a health club,
meeting facility, business center, boutique, retail space, barber/beauty salon, ballroom, restaurant and support space.
The main entrance to The St. Regis® New York is accessed by an entrance on East 55th Street which entrance will
also serve as the entrance for the Condominium. A large marquee marks this entrance. Reception and lobby areas,
which include areas that are classified as Hotel Limited Common Elements but which are subject to easements in
favor of the Unit Owners and Occupants of the Suite Units and Club Units, are accessed via the stairs at this lobby
entrance.
         Although it is currently anticipated that affiliates of Sponsor will retain ownership of the Hotel Unit, no
representation is made with respect to the type or identity of the owner, tenants or occupants of any portion of the
Hotel Unit at any time, or the purposes for which any portion of the Hotel Unit may be used at any time.

Hotel Limited Common Elements

          The Hotel Limited Common Elements consist ofthe following: (a) all entrances, passages, corridors, areas
and spaces (including their respective floors, ceilings and enclosing walls) on the ground floor of the Building and
not part of any Unit or General Common Element; (b) all passage, corridors, areas and spaces on floors containing
hotel guest rooms and on Floors 8, 9, 10 and II connecting the passenger elevators and any Suite Unit or Club Unit
and not part of any Unit as more specifically set forth on the Floor Plans; (c) the passenger elevators and the
entrances thereto; (d) all housekeeping closets and linen chutes in Building as more specifically set forth on the
Floor Plans; (e) security monitors and equipment and other security facilities serving or benefiting only the Hotel
Unit; (f) all other systems, installations and facilities of the Building (including shafts, pipes, wires, ducts, vents,
cables, conduits and lines) which exclusively serve or benefit or are necessary or convenient for the existence,
maintenance, operation or safety of the Hotel Unit; and (g) all other parts of the Property either existing for the
exclusive use of the Hotel Unit or that are necessary or convenient for the existence, maintenance, operation or
                                                                                                                           ..
safety of the Hotel Unit (and which are not General Common Elements or included as part of any Unit).
                                                                                                                           ·.· .
                                                                                                                           l· · ·.:
        In general, all corridors serving the Hotel's guest rooms and the Suite Units and Club Units will be Hotel
Limited Common Elements, maintained by the Hotel Unit Owner and all of which will generally be decorated                        ...   -

                                                                                                                            '    .
 .. .
BSS483.DOC
                                    .. .                                ..                                 ..   .
        Case
        Case 1:16-cv-09390-GHW
             1:16-cv-09390-GHW Document
                               Document 141-1
                                        123-6 Filed
                                              Filed 01/10/20
                                                    10/11/19 Page
                                                             Page 19
                                                                  20 of
                                                                     of 46
                                                                        47
                                                               17


 consistently with one another and in accordance with the standards of the hotel; and the cost of such maintenance
 and decoration, etc. shall be a Common Expense allocated as set forth in the Condominium By-Laws and as shown
 in the budget set forth as Schedule B in Part I ofthe Offering Plan.

 Retail Unit

             The Retail Unit is presently being operated as retail store space.
          Although it is currently anticipated that affiliates of Sponsor will retain ownership of the Retail Unit, no
 representation is made with respect to the type or identity of the owner, tenants or occupants of any portion of the
 Retail Unit at any time, or the purposes for which any portion of the Retail Unit may be used at any time.




BS5483.DOC
                  Case
                  Case 1:16-cv-09390-GHW
                       1:16-cv-09390-GHW Document
                                         Document 141-1
                                                  123-6 Filed
                                                        Filed 01/10/20
                                                              10/11/19 Page
                                                                       Page 20
                                                                            21 of
                                                                               of 46
                                                                                  47
                                                                 18


                                                        DEFINITIONS


              "Acljoining Properties" shall mean the parcels of land and the improvements now or hereafter existing or
     constructed thereon, located at 14 East 55th Street and at 697 Fifth Avenue, which are contiguous with the parcel on
     which the Condominium will be located. The Condominium and/or certain of the Commercial Units will have cross-
     easements with the property located at 697 Fifth Avenue.

            "Alternative Club Week" shall mean an unreserved and available seven-day period of time that a Club
     Member may reserve by releasing the reservation of their Fixed Time.

               "Assigned Priority Designation or Priority Designation" shall mean the number and letter assigned to a
     Club Interest, as designated on the Club Member's deed. A Priority Designation will be assigned at the time a Club
     Interest is conveyed in a Club Unit. An Assigned Priority Designation determines the reservation selection priority
     for the Floating Time assigned to each Club Interest during the Priority Reservation Period. A Club Interest's
     reservation selection priority will rotate on a yearly basis as determined by the Club Manager and set forth on the
     Priority Use Schedule.

             "Building" shall mean the building and improvements including above and below grade segments, located
    at Two East 55 1h Street, New York, New York 10022 situated on the Land in which the Units of the Condominium
    are located. The Building expressly excludes the Adjoining Properties.

                 "Building Department" shall mean the Department of Buildings of The City of New York or any successor
    agency.

              "Building Standards" shall mean standards of operation, management, maintenance, appearance and
    quality as are appropriate for and consistent with a building containing a hotel of the type, quality and level of
    service as is in operation from time to time within the Hotel Unit. Initially and for so long as the Hotel Unit is being
    operated using "The St. Regis®" and "The St. Regis® New York" trade names and the "St. Regis®" trademark
    (collectively, "Hotel Name Rights Intellectual Property"), the Hotel Unit and the Condominium must be operated,
    managed and maintained according to the standards established by the Hotel Name Rights Holder (or such other
    owner of the Hotel Name Rights Intellectual Property) to protect the Hotel Name Rights Intellectual Property ("St.
    Regis Standards"). The removal of the St. Regis designation from the Hotel Unit may occur if, among other things,
    the Hotel Unit is sold or if the Hotel Unit or the Building is not managed, operated, and maintained in a manner
    meeting or exceeding the St. Regis Standards.

            "Closing of Title" or "Closing' shall mean the date upon which, among other things, a Club Interest in a
    Club Unit is conveyed to a Purchaser.

             "Club" shall mean Fifth and Fifty-Fifth Residence Club, the Club Property and the Club Reservation
    System which have been subjected to the provisions ofthe Club Documents. The Club is not a multisite vacation
    club or exchange company.

           "Club Articles" shall mean the Articles of Incorporation for the Club Association, as the same may be
    amended from time to time.

             "Club Association" shall mean the Fifth and Fifty-Fifth Residence Club Association Inc., a not-for-profit
    corporation organized under the Laws of the State of New York, and its successors, which is responsible for the
    maintenance of the Club Property, the Club reservation system and the operation ofthe Club.
                                                                                                                               -~·   ..·.
              "Club Board" shall mean the board of directors of the Club Association.

             "Club Board Member" shall mean the member of the Condominium Board designated, from time to time,
    by the Club Board. Except for members designated by Sponsor, a Club Board Member must be a Club Member.

            "Club Budget" shall mean the Section of the Offering Plan entitled "Schedule B- Club Budget". The Club
    Budget is sometimes referred to as "Schedule B".
                                                                                                                                     ..
                                                                                                                                 '     ·.


.
    BS5483.DOC
                                   ..                                 ..                                ..   .                 ·.,
         Case
         Case 1:16-cv-09390-GHW
              1:16-cv-09390-GHW Document
                                Document 141-1
                                         123-6 Filed
                                               Filed 01/10/20
                                                     10/11/19 Page
                                                              Page 21
                                                                   22 of
                                                                      of 46
                                                                         47
                                                           19


             "Club By-Laws" shall mean the by-laws of the Club Association, as they may be amended from time to
 time.

          "Club Calendar" shall mean the calendar established every year by the Club Association or the Club
 Manager establishing the Club Weeks and identifying weekend days and weekdays for purposes of the Float Time
 reservations. Club Week number one will begin with the first week containing the first Friday in January.

           "Club Charges" shall mean the annual, special and default charges assessed by the Club Board to Club
 Members in accordance with the Club Documents to meet the Club Expenses and Real Estate Taxes. Club Charges
 are set forth on Schedule B.

         "Club Declaration" shall mean the Declaration and Plan of Club Ownership for the Fifth and Fifty-Fifth
 Residence Club, as the same may be amended from time to time.

          "Club Documents" shall mean the Club Declaration, the Club By-Laws, the Club Reservation Procedures,
 the Club Articles, the Club Power of Attorney, the Club Rules and Regulations and any other documents which
 govern the operation of the Club, as the same may be amended from time to time.

          "Club Expenses" shall mean all costs and expenses to be incurred generally by Club Members pursuant to
 the Club Documents in connection with: (i) the repair, maintenance, replacement, restoration and operation of, and
 any alteration, addition, or improvement to the Club; and (ii) generally, the conduct of the affairs of the Club
 Association; (iii) Real Estate Taxes assessed against the Club Interests by the City of New York and/or the New
 York City Water Board; and (iv) Condominium Common Charges assessed against the Club by the Condominium
 Board. Club Expenses are set forth on Schedule B.

         "Club Interest" shall mean an interest in a Club Unit submitted to the Club Declaration which gives Club
Member the right to reserve up to twenty-eight (28) days in a Club Unit for Club Member's use every Use Year.
Each Club Interest includes the right to confirm the reservation of seven (7) consecutive days for the time period and
Club Unit referenced on Club Member's deed. This period oftime is called "Fixed Time." The Club Interest also
includes the right to use a maximum of fifteen (15) weekdays and six (6) weekend days (as listed on the Club
Calendar) for a maximum total of twenty-one (21) days. This period is called "Float Time."

        "Club Interest Allocation" shall mean the number of Club Interests allocated to all Club Units of the same
Club Unit Type.

         "Club Management Agreement" shall mean any contract or arrangement entered into for the purposes of
discharging the responsibilities of the Club Board relative to the operation, maintenance, and management of the
Club Property.

         "Club Manager" shall mean St. Regis New York Management Inc. or any other Person or Persons engaged
by the Club Association to maintain the Club Property, the Club reservation system and to manage the Club at the
time in question.

          "Club Member" shall mean any Person or Persons who hold fee title, of record, to one or more Club
Interests (including a contract seller, but excluding a contract purchaser) at the time in question. Club Member shall
not include any Permitted Mortgagee unless such Permitted Mortgagee has acquired record title pursuant to
foreclosure or any proceeding in lieu of foreclosure.

        "Club Power of Allorney" shall mean the power of attorney each Club Member is required to deliver to the
Club Board and Sponsor in accordance with the provisions of the Club Declaration.

         "Club Property" shall mean the Club Units and all of the Club Unit Furnishings.

        "Club Reservation Procedures" shall mean the Fifth and Fifty-Fifth Residence Club Reservation Policies
and Procedures which regulate the reservation and confirmation of use and occupancy of Club Units by Club
Members, which Policies and Procedures have been adopted and/or amended from time to time by the Club Board in
accordance with the Club Declaration.



BS548J.DOC
                   Case
                   Case 1:16-cv-09390-GHW
                        1:16-cv-09390-GHW Document
                                          Document 141-1
                                                   123-6 Filed
                                                         Filed 01/10/20
                                                               10/11/19 Page
                                                                        Page 22
                                                                             23 of
                                                                                of 46
                                                                                   47
                                                                  20


              "Club Reservation System" shall mean the reservation system which implements the use of the Club Units
     in accordance with the Club Reservation Procedures.

               "Club Rules and Regulations" shall mean the rules and regulations for the management, preservation,
     safety, control and orderly operation of the Club in order to effectuate the intent and to enforce the obligations set
     forth in the Club Documents, as adopted and/or amended from time to time by the Club Board in accordance with
     the Club Declaration.

                 "Club Unit" shall mean any of the Club "Units" in the Condominium.
                                                                                                                                -~-

              "Club Unit Furnishings" shall mean all furniture, appliances, moveable equipment, utensils, carpeting, and
     other personal property located within a Club Unit conveyed to the Club Association and held in trust for the benefit
     of the Club Members.

            "Club Unit Type" shall mean the classification of a particular category of Club Unit such as: studio; one-
    bedroom; two-bedroom duplex, or any other classification determined by Sponsor which is disclosed in the Offering
    Plan. During Floating Time usage, Club Members will be assigned a particular Club Unit that is the same as their
    Club Unit Type. Club Units in each Club Unit Type may vary in size and number of bathrooms.

             "Club Week" shall mean a period of seven (7) consecutive days of exclusive possession and occupancy of a
    Club Unit pursuant to a schedule established by Sponsor or in a deed conveying the initial Club Interest in the Club
    Unit to a Club Member. A Club Week begins on Friday at 4:00 P.M. and ends on the following Friday at noon.

              "Commercial Board Members" shall mean the members of the Condominium Board designated, from time
    to time, by the Commercial Unit Owners.

                 "Commercial Units" shall mean the Hotel Unit and the Retail Unit.

          "Commercial Unit Owner" shall mean any Person or Persons who hold fee title, of record, to the
    Commercial Units at the time in question.

            "Common Charges" shall mean the charges allocated and assessed by the Condominium Board to the Unit
    Owners, pro-rata, in accordance with their respective Common Interests (except as otherwise provided in the
    Condominium Declaration or in the Condominium By-Laws or in the Condominium Budget) to meet the Common
    Expenses. Common Charges are set forth on Schedule C.

            "Common Elements" shall mean the Property, other than the Units themselves, being comprised of the
    General Common Elements and the Hotel Limited Common Elements.

              "Common Expenses" shall mean all costs and expenses to be incurred generally by the Unit Owners
    pursuant to the Condominium Declaration and/or the Condominium By-Laws in connection with: (i) the repair,
    maintenance, replacement, restoration and operation of, and any alteration, addition, or improvement to, the
    Common Elements; (ii) the establishment and/or maintenance of a general operating reserve, or a reserve fund for
    working capital, for replacements with respect to the Common Elements, or to make up any deficit in the Common
    Charges for any prior year(s); and (iii) generally, the conduct of the affairs of the Condominium. Common Expenses
    are set forth on Schedule C.

              "Common Interest" shall mean the proportionate undivided interest, expressed as a numerical percentage,
    in the Common Elements appurtenant to each Unit, as determined in accordance with the Condominium
    Declaration. The total of all Common Interest percentages appurtenant to all Units equals 100%. The Common
                                                                                                                              ..•.
    Interest attributable to each Unit is set forth on Exhibit B annexed to the Condominium Declaration.

           "Condominium Acf' shall mean the New York Condominium Act, as it exists on the date of recording the
    Condominium Declaration, and presently found in New York Real Property Law, Article 9-B.

             "Condominium Board' shall mean the board of managers of the Condominium who will manage the affairs
    of the Condominium.



    BS5483.DOC
                                                                                                                              .... .
.
-                              ..   .                            ·• -                             ·• -
         Case
         Case 1:16-cv-09390-GHW
              1:16-cv-09390-GHW Document
                                Document 141-1
                                         123-6 Filed
                                               Filed 01/10/20
                                                     10/11/19 Page
                                                              Page 23
                                                                   24 of
                                                                      of 46
                                                                         47
                                                           21


         "Condominium Budget" shall mean the Section of the Offering Plan entitled "Schedule C - Condominium
 Budget". Condominium Budget is sometimes referred to herein as "Schedule C".

           "Condominium By-Laws" shall mean the by-laws governing the operations of the Condominium, which are
 set forth as Exhibit D to the Condominium Declaration, as the same may be amended from time to time pursuant to
 the terms thereof.

        "Condominium Declaration" shall mean the instrument creating the Condominium, as the same may be
 amended from time to time.

        "Condominium Documents" shall mean the Condominium Declaration, the Condominium By-Laws and the
 Condominium Rules and Regulations.

         "Condominium Rules and Regulations" shall mean the rules and regulations of the Condominium, which
are adopted by the Condominium Board, as the same may be amended from time to time pursuant to the terms of the
Condominium By-Laws.

        "Condominium" shall mean The Fifth and Fifty-Fifth Condominium established pursuant to the tenns of
the Condominium Declaration and which is governed pursuant to the tenns of the Condominium By-Laws.

         "Costs of Enforcement' shall mean all monetary fees, fines, late charges, interest, expenses, costs,
including receiver's and appraiser's fees, and reasonable attorneys' fees and disbursements, including legal assistants'
fees, incurred by the Club Association in connection with the collection of Club Charges or in connection with the
enforcement of the terms, conditions and obligations of the Club Documents.

         "Declarants" shall mean SLT Palm Desert, L.L.C.; SLT Realty Limited Partnership; Prudential HEI Joint
Venture; and SLT St. Louis, L.L.C. and any oftheir respective designees, successors and assigns. "Declarants" shall
individually mean a "Declarant".

         "Deposit" shall mean all deposits, downpayments, advances, payments or loan payments made by
Purchasers prior to the Closing of a Club Interest, including any payments made on account of Club Charges,
financing arrangements, closing costs and the like.

         "Environmental Laws" shall mean all federal , state and local laws, rules, regulations, ordinance,
requirements and orders, whether now existing or hereafter enacted, promulgated or issued, regulating, relating to or
imposing liability or standards of conduct concerning any hazardous, toxic or dangerous waste, substance or
material and/or the protection of human health and the environment.

        "Facilities" shall mean all personal property and fixtures now or hereafter existing in, on, or under the Land
or the Building and either existing for the common use of the Units, the Unit Owners, the Club Members or
necessary or convenient for the existence, maintenance, or safety of the Property or the Club, as the case may be.

        "Filing Date" shall mean the date a letter is issued by the Department of Law accepting the Offering Plan
or an amendment to the Offering Plan, as the case may be, for filing.

         "First Closing ofa Club Interest" shall mean the Closing of Title with respect to the first Club Interest in a
particular Club Unit.

         "Fixed Time" shall mean the Club Week designated on the Club Member's deed in the Club Unit
designated on the Club Member's deed . Sponsor will not sell more than fifty percent (50%) of a particular Club
Week as Fixed Time in each Club Unit Type.

         "Floating Time" means the fifteen (15) weekdays and six (6) weekend days, as established on the Club
Calendar, of a Club Member's Club Interest, in the Club Unit type that is the same as the Club Unit designated on
the Club Member' s deed. Floating Time is reserved during the either the Priority Reservation Period or during the
Open Reservation Period. A Club Member may have up to four (4) reservations for Floating Time confirmed at any
given time during a particular Use Year.



BS5483.DOC
             Case
             Case 1:16-cv-09390-GHW
                  1:16-cv-09390-GHW Document
                                    Document 141-1
                                             123-6 Filed
                                                   Filed 01/10/20
                                                         10/11/19 Page
                                                                  Page 24
                                                                       25 of
                                                                          of 46
                                                                             47                                                      .•
                                                             22


           "Floor Plans" shall mean the floor plans of the Units certified by a professional engineer or licensed
 architect, filed in the Register's Office simultaneously with the recording of the Condominium Declaration, together
 with any supplemental floor plans thereto.

          "General Common Elemenls" shall mean those certain portions of the Property (other than the Units) and
 the Hotel Limited Common Elements, as well as those Facilities therein, either existing for the common use of the
 Units or the Unit Owners or necessary for, or convenient to, the existence, maintenance, or safety of the Property, as
 more particularly described in the Condominium Declaration.

           "Hazardous Materials" shall mean petroleum products, asbestos, polychlorinated biphenyls, radioactive
 materials and all other dangerous, toxic or hazardous pollutants, contaminants, chemicals, materials or substances
 listed or identified in, or regulated by, any Environmental Law.

          "Hotel Limiled Common Elemems" shall mean those portions of the Property (other than the Units) existing
 for the use and enjoyment of the Hotel Unit Owner subject to the easements granted to other Unit Owners and Club
 Members set forth in the Condominium Declaration.

         "Hotel Opera/or" shall mean any Person operating the hotel in the Hotel Unit, whether as the Hotel Unit
Owner, Jessee of the Hotel Unit, or as an agent, manager or independent contractor of, or otherwise on behalf of, the
Hotel Unit Owner, pursuant to a hotel management agreement or otherwise. Initially, St. Regis New York
Operating LLC, a Delaware limited liability company and an affiliate of Starwood, having an office at II II
Westchester Avenue, White Plains, New York 10604 will be the Hotel Operator. Sponsor makes no representation
whatsoever with respect to the continuation of such Hotel Operator or the identity of any subsequent Hotel Operator.
The term "Hotel Operator" when used in the Offering Plan with respect to any time after St. Regis New York
Operating LLC shall have been replaced as the Hotel Operator shall mean such other entity then operating the hotel
within the Hotel Unit.

         "Hole/ Unit" shall mean the one (1) hotei"Unit" in the Condominium.

         "Hotel Unit Owner" shall mean any Person or Persons who hold fee title, of record, to the Hotel Unit at the
time in question.

         "Land' shall mean the land located in the Borough of Manhattan on the Tax Map of the Real Property
Assessment Department of The City of New York in Section 5 known as Block 1290 and Lot 69 and more
particularly described on Exhibit A to the Condominium Declaration. The Land expressly excludes the Adjoining
Properties.

        "Landmarks Commission" shall mean the Landmarks Preservation Commission of the City of New York or
any successor agency.

         "Landmarks Law" shall mean Chapter 3 of Title 25 of the New York City Administrative Code.

         "Law" shall mean those laws and ordinances of any or all of the Federal, New York State, New York City,
County and Borough governments, the rules, regulations, orders and directives of any or all departments,                           .·
subdivisions, bureaus, agencies, or offices thereof or of any other governmental, public or quasi-public authorities or
officers having jurisdiction over the Property, the Condominium, the Club or the Club Association which are
applicable at the time in question. The term "Law" is sometimes referred to as "Legal Requirements."
         "Majority of Club Members" shall mean a majority (or any greater percentage that may be specifically
required for a particular action or authorization by the terms of the Club Documents) ofthe total voting power of the
Club Members.

         "Managing Agent" shall mean St. Regis New York Operating LLC, an affiliate of Starwood.

        "Member in Good Standing" shall mean a Club Member who is current in the payment of all outstanding
amounts owed to the Club Manager or Sponsor that relate to the Club Member's ownership of a Club Interest.




BSS483.DOC
                                                                                                                                 . . ..
                 ·• .                               ..   .                             ..                                 .. .
         Case
         Case 1:16-cv-09390-GHW
              1:16-cv-09390-GHW Document
                                Document 141-1
                                         123-6 Filed
                                               Filed 01/10/20
                                                     10/11/19 Page
                                                              Page 25
                                                                   26 of
                                                                      of 46
                                                                         47
                                        23


           "Non-Principal Residence" shall mean a single-family dwelling unit which is not occupied by any
  individual natural person in excess of 182 days in any calendar year.

          "Offeree" shall mean a Purchaser who has executed and delivered a Purchase Agreement to Sponsor or
 Selling Agent and whose Purchase Agreement is in effect, and a Club Member.

          "Open Reservation Period" means the period of time when Club Members may request reservations of
 their Floating Time on a first come, first served basis. The Open Reservation Period begins on November I prior to
 the beginning of the Use Year and ends on the last day of the following Use Year. For example, the Open
 Reservation Period for the 2006/2007 Use Year will begin on November I, 2006 and continue until December 31,
 2007.

              "Permitted Mortgage" shall mean a first mortgage or security interest placed upon a Club Interest.

              "Permitted Mortgagee" shall mean any holder of a Permitted Mortgage at the time in question.

          "Permitted User" shall mean any of Declarants, Sponsor, Suite Sponsor, Unit Owners, the Condominium
 Board, the Club Board, Club Members (and any individual(s) designated by the Primary Owner who may make
 reservations of Club Weeks for a particular Club Interest) and their successors and assigns, and all officers,
 stockholders, principals, partners, employees, members, agents (including selling and managing agents), guests,
 exchangers, contractors, tenants, invitees, Permitted Mortgagees, invitees and licensees of any of the foregoing who
 has permission to use a Unit and/or the Common Elements, subject to the terms of the Condominium Documents
 and the Club Documents, whether written or oral, granted by a Unit Owner or Club Member, the Condominium
 Board, the Condominium Documents, the Club Board, the Club Documents or the Offering Plan.

          "Person" shall mean any natural person, partnership, corporation, limited liability company, trust, estate,
 fiduciary, unincorporated association, syndicate, joint venture, organization, government or any department or
 agency thereof, or any other entity.

         "Plan and Specifications" shall have the meaning set forth in the Section of the Offering Plan entitled
"Introduction" under subsection "Type of Club Interests."

        "Presentation Date" shall mean the date on which the Offering Plan or an amendment thereto, as the case
may be, is personally delivered or the fifth day after mailing to prospective Purchasers and Club Members following
acceptance of the Offering Plan or an amendment thereto for tiling the Department of Law.

         "Primary Owner" shall mean the individual designated as having exclusive rights to make decisions
regarding the Club Interest, including making reservations for the Club Interest.

         "Principal Residence" shall mean a residence which is occupied by any individual natural person in excess
of 182 days in any calendar year.
         "Priority Reservation Period" shall mean the period during which the Fixed Time of each Club Member is
automatically reserved by the Club Manager and during which Club Members may choose to release their Fixed
Time reservation and request an Alternate Club Week reservation. In addition, during the Priority Reservation
Period, Club Members may reserve their Floating Time using the Priority Use Schedule. The Priority Reservation
Period begins September I and ends on September 30 prior to the beginning of the Use Year. For example, the
Priority Reservation Period for the 2007 Use Year will begin on September I, 2006 and end on September 30 of
2006.

          "Priority Use Schedule" shall mean the schedule assigning the priority order in which Club Members select
Floating Time during the Fixed Time and Priority Reservation Period. In order to be equitable to all Club Members,
the priority order for selecting Floating Time during this time period will rotate on a yearly basis, as determined by
the Club Manager and set forth on the Priority Use Schedule. The Priority Use Schedule will be used for
reservations of Floating Time during the Priority Reservation Period.

        "Property" shall mean the Land, the Building (and any structures attached thereto), all the improvements
erected or to be erected on the Land, all easements, rights and appurtenances pertaining thereto and all other


BS5483 .DOC
             Case
             Case 1:16-cv-09390-GHW
                  1:16-cv-09390-GHW Document
                                    Document 141-1
                                             123-6 Filed
                                                   Filed 01/10/20
                                                         10/11/19 Page
                                                                  Page 26
                                                                       27 of
                                                                          of 46
                                                                             47
                                                             24


 property, real, personal, or mixed, used or intended to be used in connection therewith. The Property expressly
                                                                                                                       ..
 excludes the Adjoining Properties.

         "Purchase Agreement" shall mean the agreement to purchase a Club Interest entered into between Sponsor
 and Purchaser.                                                                                                        ..
                                                                                                                       I




             "Purchaser" shall mean a purchaser of a Club Interest under a Purchase Agreement with Sponsor.

         "Real Estate Taxes" shall mean any real property taxes (real estate taxes), water and sewer charges,
 assessments and any other charges assessed against the Club Interests by the City of New York and/or the New York
 City Water Board.

             "Register's Office" shall mean the New York County Office ofthe Register ofThe City of New York.

             "Retail Unit" shall mean the one (I) retail "Unit" in the Condominium.

         "Retail Unit Owner" shall mean any Person or Persons who hold fee title, of record, to one or more of the
 Retail Units at the time in question.

          "Schedule A" shall mean the Section of the Offering Plan entitled "Schedule A - Purchase Prices and
 Related Information".

             "Schedule B" shall mean the Section of the Offering Plan entitled "Schedule B- Club Budget".

             "Schedule C' shall mean the Section of the Offering Plan entitled "Schedule C- Condominium Budget".

        "Selling Agent" shall mean SVO Residence Club Sales of New York, Inc. or any other Persons employed
by Sponsor in connection with the sale, renting, management, operation and/or promotion of Club Interests.

         "Sleeping Capacity" shall mean the maximum number of persons permitted to occupy a Club Unit. The
sleeping capacity for the various Club Unit Types is as follows: six (6) persons in a two bedroom duplex; four (4)
persons in a one bedroom; and two (2) persons in a studio.                                                                 .·
           "Sponsor" shall mean St. Regis Residence Club, New York Inc. and any of its designees, successors and
assigns.

         "Sponsor Control Period'' shall mean the period ending on the later of: (a) sixty (60) days after the
conveyance by Sponsor of ninety percent (90%) of the Club Interests to owners other than Sponsor; or (b) five (5)
years after the First Closing of a Club Interest.

          "Suite Board Member" shall mean the member of the Condominium Board elected (or designated), from
time to time, by the Suite Unit Owners.

           "Suite Sponsor" shall mean Fifth A venue Hotel Suites LLC and any of its designees, successors and
assigns.

        "Suite Unit Owner" shall mean any Person or Persons who hold fee title, of record, to one or more of the
Suite Units at the time in question.

           "Suite Unit" shall mean any of the suite "Units" in the Condominium.

         "Terrace" shall mean a terrace, balcony, roof setback, or garden appurtenant to a Unit. All such terraces,
balconies, roof setbacks or gardens are, collectively, referred to as the "Terraces".

         "Title Company" shall mean any reputable title insurance company or abstract company licensed to do
business in the State of New York designated by Sponsor to issue fee title insurance and mortgage title insurance to
Purchasers of Club Interests.



BS5483.DOC                                                                                                             _.:      .
              .   ,
         Case
         Case 1:16-cv-09390-GHW
              1:16-cv-09390-GHW Document
                                Document 141-1
                                         123-6 Filed
                                               Filed 01/10/20
                                                     10/11/19 Page
                                                              Page 27
                                                                   28 of
                                                                      of 46
                                                                         47
                                       25

         "Transient Hotel Room" shall mean a room or single suite of rooms used primarily for transient occupancy
 and may be rented on a daily basis as part of a transient hotel.

         "Unaccompanied Guest" shall mean any guest who occupies a Club Unit without a Club Member during a
 Club Member's con finned Club Week at the request of such Club Member and with notice to the Club Manager as
 provided in Reservation Procedures.

       "Unif' shall mean any space designated as a Unit in the Condominium Declaration together with its
 Common Interest. All such Units are collectively, referred to as the "Units".
           "Unit Owner" shall mean any owner of a Unit. All such owners of Units are, collectively, referred to as
 "Unit Owners". In the case of Units in the Club, the rights of a Unit Owner under the Condominium Documents
 shall be exercisable only by Sponsor and/or the Club Association, as the context requires.

        "Unsold Club Interest" shall mean any Club Interest owned or retained by lease or any arrangement by
 which management and/or financial responsibility is retained, by Sponsor at the time in question.

        "Unsold Unit" shall mean any Unit owned or retained, by way of lease or any other arrangement by which
 management and/or financial responsibility is retained, by Sponsor or any of the Declarants at the time in question.

        "Use Year" shall mean the period of time beginning the first Friday of each January and ending the
Thursday before the first Friday of the following January. For example, the 2007 Use Year begins on January 5,
2007 and ends on January 3, 2008.

         "Zoning Resolution" shall mean the Zoning Resolution ofThe City ofNew York, effective as of December
 15, 1961, as the same has been and hereafter may be amended from time to time.




BS5483.DOC
                 Case
                 Case 1:16-cv-09390-GHW
                      1:16-cv-09390-GHW Document
                                        Document 141-1
                                                 123-6 Filed
                                                       Filed 01/10/20
                                                             10/11/19 Page
                                                                      Page 28
                                                                           29 of
                                                                              of 46
                                                                                 47                                         ·.
                                                           26


                            DESCRIPTION OF PROPERTY AND IMPROVEMENTS


 Location and Zoning
                                                                                                                            ..
         The Building is located at Two East 55th Street on the southeast comer of Fifth Avenue in the Borough of
Manhattan, City ofNew York. The Land has a frontage of approximately 75Yz feet on Fifth Avenue and 249Yz feet              \   ..
on East 55 1h Street. The Building and surrounding area is zoned C5-3 and C5-2.5 of the New York City Zoning
Resolution which permits residential and many commercial uses. The Property, classified within the Special
Midtown District (Mid) and further classified within the Fifth Avenue sub-district under the Zoning Resolution is
subject to additional provisions and restrictions with regard to permissible uses within these classifications. Among
other things, these restrictions affect the allowable types of retail along Fifth A venue. The intended use of the
Building as described in accordance with the provisions of the Offering Plan will be in compliance with the current
requirements of the Zoning Resolution.

         The Building has been landmarked by the Landmarks Commission under the Landmarks Law. The
Landmarks Law protects the improvements and landscape features of certain properties and areas which reflect the
City's rich cultural, social, economic, political and architectural history. Pursuant to the Landmarks Law, if the
Condominium Board or any Unit Owner desires to make any alteration, addition, improvement or repair in or to a
Unit (other than ordinary repair and maintenance as defined in Section 302 of the Landmarks Law) which affects
any exterior architectural feature of the Building, then, in addition to obtaining any necessary consent from the
Condominium Board, such party must first obtain approval from the Landmarks Commission. Club Members are
not permitted to make any alterations to any part of the Club Property or the Common Elements of the
Condominium.

The Building
                                                                                                                                 ·.
          The Building is currently operated as the internationally acclaimed St. Regis® New York, the original
Beaux Arts classic landmark built by Colonel John Jacob Astor IV in 1904, which is consistently ranked as one of
the world's finest hotels. The site of the original St. Regis®, at Fifth Avenue and 55th Street, was a residential
neighborhood when Astor broke ground for it in 1902. He wanted to create a hotel where gentlemen and their
families could feel as comfortable as they would as guests in a private home; in fact, he frequently used The St.
Regis® as a place for his personal guests and visiting relatives to stay at his invitation. For their comfort, Astor
introduced such "modem" conveniences as telephones in every room, a fire alarm system, central heating and an air-
cooling system that efficiently predated modem air conditioning and allowed each guest to control the temperature
of his room. Mail chutes were installed on each floor, a newsworthy innovation at that time. One of the hotel's other
novel features was a special design "for the disposition of dust and refuse" - one of the first central vacuum systems.
All maids had to do was plug their vacuum cleaner's hose into sockets situated throughout the hotel.

         The original hotel was built in 1904, designed by Trowbridge and Livingston. The 1927 extension,
designed by Sloan and Robertson, complemented the original design and expanded the hotel further east along East
55th Street. The Beaux Art hotel was given a landmark designation by the New York City Landmarks Preservation
Commission, thus any alteration that will affect the historic character of the Building needs to be approved by the
Commission, in addition to any approvals required from the Board.

          Renovation of the Club Units will be completed substantially in accordance with the Plans and
Specifications, and otherwise in accordance with the Law. However, Sponsor reserves the right to amend or modify,
in any way, the Plans and Specifications (including, without limitation, changing materials, appliances, equipment,
fixtures and other construction details) and substitute in place of any materials, appliances, equipment and fixtures
set forth therein or in the Description of Property and Improvement set forth in Part II of the Offering Plan, items of
substantially equal or better quality, provided, however, that any material change shall be set forth in an amendment
to this Plan, that any necessary approval of any governmental authority having jurisdiction is first obtained, and that
no such amendments, modifications or substitutions may be made if the same would materially adversely affect any                    •
Purchaser under an Agreement which has been countersigned by Sponsor and returned to the Purchaser unless the
same is dictated by construction conditions at the Property (such as coordination of Building systems, conflicts with
structural members or elements, conforming with Legal Requirements, unforeseen events, etc. and, in all cases, in
                                                                                                                                      ~
good faith, reasonably necessary due to factors not within Sponsor's reasonable control, and where no practicable              I ••




alternative (in the exercise of sound construction management practices) exists), and in such event, Sponsor will, in

                                                                                                                          \···


                                        ..
BS5483.DOC

      ·•     .                               .                             ..   .
         Case
         Case 1:16-cv-09390-GHW
              1:16-cv-09390-GHW Document
                                Document 141-1
                                         123-6 Filed
                                               Filed 01/10/20
                                                     10/11/19 Page
                                                              Page 29
                                                                   30 of
                                                                      of 46
                                                                         47
                                                              27


the amendment disclosing such change and delivered to the Purchasers, offer any materially adversely affected
Purchaser(s) the right, for at least fifteen (15) days, to rescind their Agreements and receive a refund of their
Deposit, together with all interest earned thereon. (Any such changes that are not both material and adverse will not
give rise to a right of rescission.)

         Under no circumstances shall any Purchasers and offerees under the Offering Plan (or their purchasers or
tenants or invitees others) have any claim or recourse whatsoever against or privity with Fee Owner, any
Commercial Unit Owner, the Club Sponsor or Starwood or any of their respective affiliates (other than Sponsor), or
any of their respective officers, directors, partners, members, managers, shareholders, agents, employees or
successors-in-interest or other party/ies claiming through, in connection with the Offering Plan, the renovation of the
Suite Units (or any other Unit in the Condominium or element thereof), any "fiscal" matters (e.g., adequacy of
budgets, reserves, etc.) or the purchase of a Club Interest or any other matter relating to the Building.

          The location in the Building, and the size, layout and approximate square footages of the Club Units are
shown on the Floor Plans set forth in Part II of the Offering Plan. Such floor plans are subject to the rights of
Sponsor or its designee to combine two or more Unsold Club Units, to add additional Club Units by subdividing
Unsold Club Units or by acquiring portions of the Hotel Unit and/or Suite Units and changing the designation of
such areas to Club Unit space or to change the number of rooms in, as well as the size, layout and square foot area
of, any Unsold Club Units, provided, however, that any material change (for example, a reduction in square footage
in excess of five percent (5%) shall be set forth in an amendment to the Offering Plan, that no material adverse
change will be made in the size (i.e., decrease), configuration or layout of a Club Unit for which a Purchase
Agreement which has been countersigned by Sponsor and returned to Purchaser unless the same is dictated by
construction conditions at the Property (such as coordination of Building systems, conflicts with structural members
or elements, conforming with Legal Requirements, unforeseen events, etc. and, in all cases, in good faith, reasonably
necessary due to factors not within Sponsor's reasonable control, and where no practicable alternative (in the
exercise of sound construction management practices) exists), and in such event, Sponsor will, in the amendment
disclosing such change and delivered to the Purchasers, offer the materially adversely affected Purchaser(s) the
right, for at least fifteen (15) days, to rescind their Purchase Agreements and receive a refund of their Deposit,
together with all interest earned thereon.

         Sponsor will have no liability to any Purchaser, nor will any Purchaser be entitled to a credit, offset or
reduction in the purchase price for the Club Interest or otherwise be relieved of any obligations under the Purchase
Agreement, by virtue of a minor inaccuracy or error in the Floor Plans. With regard to size, such minor error would
mean a decrease of five percent (5%) or less or any increase in the size of any Club Unit or room contained in a
Club Unit.

         The Building incorporates mechanical equipment designed to provide for the physical comfort and
convenience ofthe Building's occupants. During normal operation ofthis equipment, some occupants of Club Units
adjacent to or in the vicinity of the equipment floors and equipment areas ofthe Building may perceive noise and/or
vibration from the equipment. The sole obligation of Sponsor, the Condominium Board, the Hotel Unit Owner, the
Hotel Operator and any related party, with respect to such noise and/or vibration shall be to install and operate such
equipment in a manner consistent with commercially reasonable practices and in compliance with applicable Legal
Requirements, including the New York City Building Code.

          Based upon the current schedule, Sponsor presently contemplates that, unless delayed by casualty, labor
difficulties (including work stoppages and strikes), late delivery and/or the inability to obtain on a timely basis or
otherwise, materials or equipment, governmental restrictions, acts of god or other events beyond its reasonable
control, renovation of the Club Units will be sufficiently completed to permit closings of title to Club Units to begin
in or about July 2006. Prospective Purchasers should note, however, that the Club Units will be completed at
differing times over a period that may begin prior to and/or extend beyond such date. Sponsor will have no liability
to any Purchaser, nor will a Purchaser be entitled to any credit, offset or reduction in the purchase price for the Club
Interest or otherwise be relieved from any obligations under the Purchase Agreement, in the event that the First
Closing of a Club Interest occurs earlier or later than the targeted date or the time to complete or to close title to such
Purchaser's Club Interest is accelerated, delayed or postponed by Sponsor, provided, however, that in the event the
actual or anticipated commencement date of the projected first year of Club operation is to be delayed by six (6)
months or more, Sponsor will amend the Offering Plan to include a revised budget with current projections and if:
(i) the amended budget exceeds the projected budget set forth herein by twenty-five percent (25%) or more; or (ii)
the First Closing of a Club Interest does not occur within twelve (12) months after the date set forth in Schedule Bas


BS5483.DOC
               Case
               Case 1:16-cv-09390-GHW
                    1:16-cv-09390-GHW Document
                                      Document 141-1
                                               123-6 Filed
                                                     Filed 01/10/20
                                                           10/11/19 Page
                                                                    Page 30
                                                                         31 of
                                                                            of 46
                                                                               47
                                                            28


 the commencement date for the projected first year of Club operation, then in either case Sponsor will offer all
 Purchasers (other than Purchasers who are then in default beyond any applicable grace period under their Purchase
 Agreements, if the Offering Plan has been declared effective) the right to rescind their Purchase Agreements within
 not less than fifteen ( 15) days after the presentation date of the amendment containing such revised budget or after
 such twelve (12) month period, as the case may be, and any Purchasers electing rescission pursuant to such offer
 will have their Deposit and any interest accrued thereon returned. Purchasers' rights as described in the preceding
 sentence are in lieu of any other rights or remedies which may be available pursuant to any applicable Jaw,
 regulation and statute or otherwise, all of which shall be deemed to have been waived by all Purchasers. As set forth
 in the Section of the Offering Plan entitled "Effective Date," no closing of title to any Club Interest will take place     ..
 prior to the Offering Plan being declared effective.

 Services and Facilities

    Generally, all services normally associated with the operation and maintenance of a full service Condominium
 will be provided to Club Members at no cost other than Club Charges (which will include a component of General
 Common Charges collected by the Condominium Board to reimburse the Hotel Unit Owner or the Hotel Operator,
 as the case may be, for Allocable Hotel Expenses incurred in providing such services to all Club Members.

              (a)   Health and Fitness Spa

                    The Health and Fitness Spa will be a part of the Hotel Unit. Registered Occupants of the Club
Units will have access to the amenities, services and facilities available in the Health and Fitness Spa located in the
Hotel Unit for so long as such spa is located therein and operating in the Hotel Unit. Such access will be available
on the same basis as may be offered from time to time to Hotel Guests. Accordingly, it is anticipated that Club
Members in occupancy and Hotel Guests will have daily access to any of the exercise equipment and locker
facilities of the health club, without payment of any membership or initiation fee. However, there will be user
charges for certain services rendered in the Health and Fitness Spa such as, but not limited to, massages, personal
trainers and spa treatments. The rates charged for such services will be equivalent to those charged for similar
services to Hotel Guests. Currently, the hours of operation of the Health and Fitness Spa are 6:00 a.m. to 10:00 p.m.
daily (subject to modified schedules on holiday) , but such hours are subject to change, and no warranty or
representation is made with respect to such hours of operation.

              (b)   Concierge

                  There will be a concierge area within the Hotel Unit adjacent to the lobby, staffed by a concierge
who, it is anticipated, will be available daily from 7:00 a.m. to midnight. The concierge will provide general
information; make restaurant and entertainment recommendations and arrange reservations; reserve theater, sporting
and entertainment tickets; arrange housekeeping, valet, limousine and transportation services; and arrange various
other services. Such services will be available to the Club Members on the same basis as may be offered from time
to time to Hotel Guests. (The cost of any goods or services provided will be the expense of the requesting party.)

          (c)       Doormen

                 A doorman will be on duty at the street entrance to the lobby daily from 6:00 a.m. to midnight, in
order to open doors, hail taxicabs and assist with packages and luggage.

          (d)       Communications Facilities, Intercom Service, and Internet Connection

                   Each Club Unit will be equipped with a house telephone system. This system will enable the
occupants of the Club Unit to communicate directly with the concierge and/or front desk regarding the admission of
guests, and the like.

          (e)       Elevator Service

                   Passenger elevators will be automatically operated and will be in service as necessary, 24 hours
per day, seven days a week. It is anticipated that a separate service elevator (which will be part of the Hotel Unit)
but available for appropriate use by Club Members may be attended when required and available to Unit Owners or
occupants by prior arrangement with the Hotel Operator. Elevator service may be attended for a fee paid for by Unit
Owners.
                                                                                                                           .-
                                                                                                                               ..·
                                                                                                                           ~~~ ·

.. .
BS5483 .DOC

                                  ..   .                             ..                                 ·•   .
         Case
         Case 1:16-cv-09390-GHW
              1:16-cv-09390-GHW Document
                                Document 141-1
                                         123-6 Filed
                                               Filed 01/10/20
                                                     10/11/19 Page
                                                              Page 31
                                                                   32 of
                                                                      of 46
                                                                         47
                                       29


             (f)    Mail

                    Incoming mail will be sorted and available for pick-up by Club Members from the concierge.

             (g)    Maintenance Personnel

                   Personnel will include sufficient engineers and housekeeping staff as may be necessary for the
 maintenance and cleaning of Common Elements. Maintenance personnel may be hotel employees who will provide
 services to the Common Elements, as necessary.

             (h)   Security Procedures

                  Entrances to the Building will generally be staffed by employees of either the Managing Agent of
the Condominium and/or the Hotel Operator. However, the Building is currently principally operated as a transient
hotel with banquet and other public facilities. Purchasers are advised that certain portions of the Hotel Unit will be
regularly used for parties and functions, and/or as a restaurant or other similar facilities, that are open to the public
and that a significant number of non-Hotel Guests will likely be in the Building at any time; and therefore no
representation or warranty is made and no assurance is given that the security systems, procedures and staff of the
Building will prevent personal injury or damage to or loss of personal property.

             (i)   Reception Desk

                  The Hotel Operator will provide staff who will be on duty at the reception desk in the Hotel lobby
24 hours a day, 7 days per week to handle registration, issue room keys and deliver messages on the same basis as to
Hotel Guests. For security purposes and to monitor occupancy in connection with the New York State and New
York City hotel occupancy and sales taxes, each Hotel Guest, including a Club Member, must register with the front
desk and leave a valid credit card upon commencing any occupancy. The Hotel Guest, including the Club Member,
will be issued a specially-encoded room key at that time. The maintenance of the reception desk is included in the
General Common Charges payable by the Unit Owners.

             (j)   Bell Staff

                 Attendants will be available 24 hours a day, 7 days per week, to transport baggage and packages to
and from the Club Units on the same basis as to Hotel Guests.

         (k)       Cleaning

                 Building standard cleaning and building standard linen service will be provided at a daily rate to
be determined by the Hotel Operator to all Club Units (and is required) for each day that the same are in use,
including cleaning bathrooms, removing trash, dusting furniture, vacuuming and changing sheets, pillow cases,
towels, washcloths and bathmats.

         (I)       Security Features

                   Each Club Unit will contain an electronic door-lock system capable of using specially encoded
magnetic metal keys, which will be individually issued to Club Members or Hotel Guests at the time of check-in to
the Hotel. Such keys will be able to access only the applicable Club Unit, only during the period of stay by such
Hotel Guest or Club Member in the Hotel. Similar keys will also be issued to selected hotel service personnel who
may be servicing the Club Units before, during and after the stay of a Club Member or Hotel Guest. In case of
failure of the electronic coding/decoding system and/or power to any part of the system, a means of entry will be
available to security personnel and the Hotel Operator on a restricted basis.

         (m)       Telephone Service

                   Telephone operator service is provided 24 hours a day, 7 days per week, for assistance with
incoming call routing, message service, wake-up call service and outside operator connections. Club Unit occupants
will also be able to make outgoing calls by (DID) direct dial service, at the occupant's expense. Telephone company
charges for local and long-distance calls from each Club Unit will be charged at the hotel's posted rates separately
from General Common Charges and will be based on usage. Hotel Guests and Club Members occupying a Club


BS5483.DOC
                  Case
                  Case 1:16-cv-09390-GHW
                       1:16-cv-09390-GHW Document
                                         Document 141-1
                                                  123-6 Filed
                                                        Filed 01/10/20
                                                              10/11/19 Page
                                                                       Page 32
                                                                            33 of
                                                                               of 46
                                                                                  47
                                                                 30
                                                                                                                                     ·.


      Unit will be required to leave a valid credit charge authorization and execute the Hotel Operator's associated hotel
      services agreement to secure timely payment of telephone and other per-use or discretionary charges incurred during
      any occupancy period.

                  (n)    Licensing

                        The Hotel Operator will procure and maintain in effect all licenses and permits consistent with the
      operation of a Hotel. Club Members renting their Club Interests shall be responsible for collecting and remitting to
      the appropriate taxing authorities the applicable sales and hotel room occupancy taxes and for filing with the
      appropriate taxing authorities all applicable sales and hotel room occupancy tax returns and application for refunds.

                  (o)    Tax Filings

                          Rentals of Club Interest will be subject to sales taxes and hotel occupancy tax. Currently, New
      York State sales tax is at the rate of 4% and New York City sales tax is at the rate of 4.375%, for a combined rate of
      8.375%. The current rate for the New York City hotel room occupancy tax is $2.00 per day per room (not including
      any bathroom) plus 5% of the daily occupancy charge. In addition, New York State imposes a hotel unit fee in the
      amount of $1.50 per unit per day. (Sponsor makes no representation or warranty that such tax rates will remain in
      effect for any period of time). Club Members shall be required to pay sales taxes and hotel occupancy tax and make
      all tax filings directly to the taxing authorities.

                  (p)   Carbon Monoxide Detectors

                        Carbon monoxide detectors are not required to be installed in the Club Units since steam is used to
      supply heat.

     . Improvements

               Sponsor reserves the right to amend or modify the Plans and Specifications for the Club in any way
      (including, without limitation, changing materials, appliances, equipment, fixtures, and other construction details
      and designs) and to substitute in place of any materials, appliances, equipment and/or fixtures set forth therein or in
      the "Description of Property and Building Condition" set forth in Part JI of the Offering Plan, materials, appliances,
      equipment and/or fixtures of substantially equal or better quality, provided only that any necessary approval of any
      governmental authority having jurisdiction thereunder is obtained. Any or all of the foregoing amendments or
      changes may be made without prior notice to Purchasers or amendment to the Offering Plan.

               The "Description of Property and Building Condition" contained in Part II of the Offering Plan sets forth
     all of the appliances, fixtures and other equipment which are or will be contained in each Club Unit. These fixtures,
     appliances and equipment are subject to change by Sponsor.

      Lead-Based Paint and/or Lead-Based Paint Hazards

              Sponsor has no knowledge of lead-based paint and/or lead-based paint hazards in the Club. See Paragraph
     22 and "Schedule B" of the Purchase Agreement and the "Lead-Based Paint Survey" and pamphlet entitled
     "Protecting Your Family from Lead in Your Home" in Part II ofthe Offering Plan for more details.

     ADA Accessibility

              (a)       The Club

                        Club Units 816 and 915 will be accessible to Purchasers with disabilities, one of which will have a
     roll-in shower or an accessible tub.
                                                                                                                                ..
                                                                                                                                ···"!;""'··

              (b)       The Hotel                                                                                                    \ .·.


                       The Hotel in which the Club will be located was originally designed and constructed well before
     the enactment of any laws on disability access ("Disability Laws"). As a result, the obligation of the Hotel's owners
     and operators to make portions or features of the Hotel accessible has been limited to two circumstances: first,

                                                                                                                                ..
                                                                                                                                ·


     BS5483.DOC
                                                                                                                                .·     .
..                                  ..   .                            .,   .                            ., .                    ..
         Case
         Case 1:16-cv-09390-GHW
              1:16-cv-09390-GHW Document
                                Document 141-1
                                         123-6 Filed
                                               Filed 01/10/20
                                                     10/11/19 Page
                                                              Page 33
                                                                   34 of
                                                                      of 46
                                                                         47
                                                            31


 where alterations of the Hotel undertaken since the effectiveness of the disability laws that have triggered certain
 accessibility obligations, and, second, where removal of barriers to access has been readily achievable.

           As of the First Closing of a Club Interest, the portions of the Hotel that comprise the Club and those
 portions of the Hotel to which Club Members will have access will be effectively accessible to persons with
 disabilities, except as noted below:
           1.       None of the Disability Laws require every feature of a facility such as the Club (or the Hotel) to be
 accessible to the disabled. Instead, the Disability Laws typically require only a set number or percentage of certain
 features to be accessible. So, for example, the Disability Laws require only that a certain number of restroom stalls
 or hotel guestrooms be accessible to the disabled. Because certain features of the Club and Hotel are not even
 expected to be accessible, this disclosure does not attempt to address those features.
          2.       The top of the Hotel's main registration desk is at height that is considered to be too high to be
 reached by most wheelchair users. Hotel front desk staff have been trained to greet and assist guests who use
 wheelchairs out in front of the front desk and to provide them with a clipboard or other portable flat surface on
 which to write or conduct other transactions.
          3.        One of the entrances to the Hotel is inaccessible to wheelchair users because it requires guests to
traverse stairs. A second entrance has a door that may require too much force to operate for certain persons with
disabilities. Signage is being posted at this door together with a notification system that advises those experiencing
difficulty with this door that the notification system alerts Hotel staff to come to the door to provide assistance.
         4.       The Disability Laws consist of a countless number of requirements, many of a highly technical
nature and some that pose no barrier to actual access and use by persons with disabilities. Although efforts have
been made efforts to identify the above features of the Building that may hinder effective access by purchasers of
Club Interests, there is no guaranty that changes in the Disability Laws or identification of additional inaccessible
features may require further alterations or additional Building procedures in the future.




BS548J.DOC
                  Case
                  Case 1:16-cv-09390-GHW
                       1:16-cv-09390-GHW Document
                                         Document 141-1
                                                  123-6 Filed
                                                        Filed 01/10/20
                                                              10/11/19 Page
                                                                       Page 34
                                                                            35 of
                                                                               of 46
                                                                                  47
                                               32


                                           LOCATION AND AREA INFORMATION


              The Building is situated at Two East 55th Street on the Southeast comer of East 55th Street and Fifth
      Avenue in the Borough of Manhattan, City of New York.

               The Condominium is situated at Two East 55th Street, New York, New York, on the southeast comer of
      East 55th Street and Fifth Avenue. The Property is located near the crossroads of Midtown Manhattan's transition
      from an office and retail mecca to a high-end residential and retail neighborhood stretching north along Fifth
      Avenue and Madison Avenue, two of New York's most exclusive addresses.

                New York City is one of the leading cultural centers of the world, with many of the finest universities,
      museums, libraries, theaters and cultural institutions, attracting millions of national and international tourists. New
      York City is the nation's center for communications, publishing, advertising, the stock market and other financial
      services, visual and performing arts and the fashion industry.

               New York City is served by three major airports -- LaGuardia Airport, John F. Kennedy International
      Airport and Newark International Airport. Passenger railroad service is provided from Pennsylvania Station, located
      at Seventh Avenue and 33rd Street, and from Grand Central Terminal, located at Park Avenue and 42nd Street.

                Transportation to and from the Building, and throughout New York City, is readily available by, among
      other things, taxi, limousine and private automobile. A number of commercial parking garages are located nearby.

              Central Park, located four blocks from the Property in the center of Manhattan, is an 840-acre tract of land
     which combines beautifully landscaped areas with a large variety of recreational facilities, such as tennis courts,
     running paths, bicycle routes, an ice skating rink, theatrical performances, musical concerts, and a zoo.

              Significant shopping areas are located within a short distance of the Property. Within five blocks of the
     Property are luxury retailers such as Tiffany's, Henri Bendel, Bergdorf Goodman, Cartier, DeBeers, Boucheron,
     Saks Fifth Avenue. Rockefeller Center and Trump Tower are within walking distance.

               There are excellent private schools and hospitals and outstanding recreational and cultural facilities
     throughout the Borough of Manhattan, including libraries, museums, and parks considered among the finest in the
     world. Among the nearby museums are the Museum of Modem Art, Museum of Natural History, New York
     Historical Society, Metropolitan Museum of Art, Whitney Museum of American Art, Frick Collection, Guggenheim
     Museum and Museum of American Folk Art. Lincoln Center for the Performing Arts (which includes the New                               •
     York State Theater, the Metropolitan Opera House, Avery Fisher Hall and the Vivian Beaumont Theater), Jazz at
     Lincoln Center's new facility in the Time Warner Center on Columbus Circle, Carnegie Hall and the Broadway
     theater district, which are the focal points ofthe musical life of the City, are also nearby. Noted schools in the area
     include the Juilliard School and Fordham University.

             A number of excellent medical centers, such as Mt. Sinai Medical Center, New York Hospital-Cornell
     Medical Center, Memorial Sloan Kettering, New York University Medical Center and Columbia Presbyterian
     Medical Center, are readily accessible.

              All public services, including schools, police protection, library, street maintenance, social services and fire
     protection are provided by The City ofNew York. The Property has frontage on both East 55th Street and Fifth
     A venue, both of which are dedicated New York City streets. The nearest police precinct headquarters is the
     Midtown North Precinct located at 306 West 54th Street at Eighth Avenue. Fire protection is provided from the
     firehouse situated at the corner of West 58th Street and Broadway. The main branch of the world famous New York                  ;·

     City public library system is located at Fifth Avenue and 42nd Street. Many religious faiths have congregations
     within walking distance of the Property.




                                                                                                                                      ...
                                                                                                                                     ..       '

     BS5483.DOC

..                          ..                                 ..                                  ·• .                          .
         Case
         Case 1:16-cv-09390-GHW
              1:16-cv-09390-GHW Document
                                Document 141-1
                                         123-6 Filed
                                               Filed 01/10/20
                                                     10/11/19 Page
                                                              Page 35
                                                                   36 of
                                                                      of 46
                                                                         47
                                         33


                SCHEDULE A- PURCHASE PRICES AND RELATED INFORMATION




BS5483 .DOC
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-1
                                123-6 Filed
                                      Filed 01/10/20
                                            10/11/19 Page
                                                     Page 36
                                                          37 of
                                                             of 46
                                                                47   ..
                               34




                                                                          '.




                          ..                    .
                                    Case
                                    Case 1:16-cv-09390-GHW
                                         1:16-cv-09390-GHW Document
                                                           Document 141-1
                                                                    123-6 Filed
                                                                          Filed 01/10/20
                                                                                10/11/19 Page
                                                                                         Page 37
                                                                                              38 of
                                                                                                 of 46
                                                                                                    47
                                                   SCHEDULE A- PURCHASE PRICES AND RELATED INFORMATION

                                                               FIFTH AND FIFTY-FIFTH RESIDENCE CLUB
                                                                             Two East 55 1h Street
                                                                         New York, New York 10022

                                                                                        PURCHASE
                                     CLUB UNIT                                            PRICE           PROJECTED ANNUAL CLUB CHARGES               SPONSORS FINANCING
                                           (I)                                               (2)                             (J)                                   (4)

       Number       Bedrooms   Bathrooms     "Condominium    "Usable"     Facing                         Real Estate    Other Club     Total Club     Maximum            Constant
                                              Declaration"    Square                                       Taxes         Expenses       Charges       Amount             Monthly
                                              Square Feet      Feet                                                                                   Financed           Payment



                                                                                                             (a)            (b)         (a)+ (b)
             808     Studio       One             523          445      Interior          $335,000         $905 .49     $9,400.33      $1 0,305.82    $301 ,500           $2,684    I


             908     Studio       One             523          445      Interior          $335,000         $905.49      $9,400.33      $1 0,305.82    $301 ,500           $2.684
                                                                                                                                                                                    I
             809     Studio       One             474          415      5°' Avenue        $315.000         $905.49      $9,400.33      $10,305.82     $283,500            $2,523
             909     Studio       One             474          415      s~~> Avenue       $315,000         $905.49      $9,400.33      $ 10,305.82    $283,500            $2,523
             807      One         One             738          625      5~~> Avenue       $395,000        $1 ,737.11    $12,054.42     $13,791.53     $355,500            $3,164
             907      One         One             738          625      5tl' Avenue       $395,000        $1 ,737.11    $12,054.42     $1 3,79 1.53   $355,500            $3,164
             801      One         One             1061         935      Interior &        $550,000        $1,737.11     $12,054.42     $13,791.53     $495,000            $4,406
                                                                        s~~> Avenue
                                                                                                                                                                                        w
             901      One         Two             1061          935     Interior &        $550,000        $1 ,737 .11   $12 ,054.42    $13 ,791.53     $495,000           $4,406        1./l
                                                                        5°' Avenue
             821      Two         Two             1129          957     5°' Avenue        $490,000        $2,630. 19     $14 ,904.64   $ 17,534.83     $441 .000          $3,925
             921      Two         Two             1129          957     5°' Avenue        $490.000        $2,630.19      $14.904 .64   $17.534.83      $441 ,000          $3,925
             822       One        Two             1070          852     Interior          $470,000        $1 ,737 .11    $12,054.42    $13,791.53      $423.000           $3,765
             922      One        Two              1070          852     Interior          $470.000        $1 ,737.11     $12,054.42    $13,791.53      $423,000           $3.765
             803      Two        Three            1546         1,383    Interior &        $700,000        $2,630.19      $14,904.64    $17,534.83      $630,000           $5,608
                                                                        5~~> Avenue
             903       Two       Three            1546         1,383    Interior &         $700,000       $2,630.19      $14,904.64     $17,534.83     $630,000            $5,608
                                                                        5°' Avenue
             81 5      Two        Three           1507         1,290    511> Avenue        $585,000       $2,630.19      $14,904.64     $17.534.83     $526,500            $4,686
             915       Two        Three           1507         1.290    5th Avenue         $585,000       $2,630.19      $14,904.64     $17,534 .83    $526,500            $4.686
             818       Two        Three           1593         I 395    Interior           $605,000       $2,630.19      $14,904.64     $!7,534.83     $544,500            $4,847
             918       Two        Three           1593         1,395    Interior           $605,000       $2,630.19      $14,904.64     $17,534.83     $544,500            $4,847
             835       Two        Three           1458         1,263    5tl• Avenue        $565,000        $2,630.19     $14,904.64     $!7,534.83     $508,500            $4,526
             935       Two        Three           1458          1,263   5°' Avenue         $565,000        $2.630.19     $14.904 .64    $17.534.83     $508.500            $4,526
             836       Two        Three           1455          1,260    Interior          $565,000        $2,630.19     $ 14,904.64    $17,534.83     $508,500            $4,526
             936       Two        Three           1455         1,.260    Interior          $565,000        $2,630.19     $14.904.64     $ 17,534.83    $508,500            $4,526


        TOTALS                                                                           $ 156,480,000     $547,283      $3,465,402     $4.012,685


                                                                               See Notes to Schedule A

BS5483.DOC
              Case
              Case 1:16-cv-09390-GHW
                   1:16-cv-09390-GHW Document
                                     Document 141-1
                                              123-6 Filed
                                                    Filed 01/10/20
                                                          10/11/19 Page
                                                                   Page 38
                                                                        39 of
                                                                           of 46
                                                                              47
                                                               36


                                                      Notes to Schedule A


  I.          The Club Units on Floors 8 and 9 contain studios; one-bedrooms; and two-bedroom duplexes. The Club
              Interest in each Club Unit is equal to a fraction, the numerator of which is four (4) and the denominator of
              which is fifty-two (52).
              Purchasers should refer to the Floor Plans set forth in Part II of the Offering plan for an approximation of
              the dimensions and layouts of the Club Units. The "Condominium Declaration" square footage represents
              the square foot area of the Club Unit measured horizontally on each floor from the interior side of the
              glazing or the exterior walls at the Building line and/or the Property line to the midpoint of the interior
              walls and partitions separating one Club Unit from another Unit, or the public side of the interior walls
              separating a Club Unit from public corridors, stairs, elevators and other mechanical equipment spaces or                 ·.
              any Common Elements. Column and mechanical pipes (whether along the perimeter or with the Club Unit)
              are not deducted from the square foot area of the Club Unit. The "useable" square foot area of a Club Unit
              represents that portion of the Club Unit to which the Club Owner has access (i.e., interior painted surfaced
              to interior painted surface, including kitchen counters, bathtubs, etc.). The square foot area and dimensions
              of the Club Units are approximate and may vary due to field conditions. No such variation will affect a
              Purchaser's obligations under the Purchase Agreement or the Offering Plan unless the square foot area of
              the Club Unit is diminished by more than five percent (5%) (excluding interior partitions), therefore
              affording Purchaser a fifteen ( I5) day right to rescind.
              The number of rooms in each Club Unit have been computed by Sponsor in accordance with industry
              standard as follows:
                                                                                                                               -·
              Tme of Club Unit           Total Rooms                Tme of Rooms
              Studio                     2                          I bedroom, I bathroom
              One bedroom                3 or4                      I or 2 bedrooms, I bathroom, I Jiving room
              Two bedroom                5                          2 bedrooms, 2 bathrooms, I living room
              Two bedroom duplex         5 or6                      2 bedrooms, 2 or 3 bathrooms, I living room

2.        THE PURCHASE PRICES AND OTHER TERMS OF SALE OF CLUB INTERESTS MAY BE
          NEGOTIATED BY SPONSOR AND, THEREFORE, MAY BE CHANGED.                                      ACCORDINGLY,
          PURCHASERS MAY PAY DIFFERENT PURCHASE PRICES FOR SIMILAR CLUB INTERESTS.
          The effect of this, as well as the right of Sponsor to change purchase prices, is more particularly discussed
          in the Section of the Offering Plan entitled "Changes in Prices and Facilities." In addition to the payment
          of the purchase price, each Purchaser will be responsible for the payment of certain closing costs and
          expenses at the time of Closing, as explained in the Section of the Offering Plan entitled "Closing Costs". If
          Purchaser obtains a mortgage loan from Sponsor or other lender, Purchaser will be responsible for the
          payment of additional closing costs and expenses relating to such loan. There may be an apportionment of
          certain charges relating to the Club Interest at the time of the Closing of Title. THESE PRICES HAVE
          BEEN SET BY SPONSOR AND ARE NOT SUBJECT TO REVIEW OR APPROVAL BY THE
          DEPARTMENT OF LAW OR ANY OTHER GOVERNMENT AGENCY.

3.        The estimated Club Charges contained in this column are for the period from January I, 2006 to December
          31, 2006 based on the "Schedule B - Club Budget" prepared by Sponsor in consultation with the Club
          Budget Expert. Club Charges include Real Estate Taxes assessed against the Club Units and other Club
          Expenses.

          The estimated annual Club Charges in this column reflect the benefit to be obtained by Club Members
          during the period Sponsor's Club Charge Guaranty is in effect. During the period Sponsor's Club Charge
          Guaranty is in effect, Sponsor is not obligated to pay Club Charges allocable to Unsold Club Interests. See
          the Section of the Offering Plan entitled "Sponsor's Club Charge Guaranty" for more details. The Club
          Association reserves the right to bill Club Members for Club Charges more often than once a year.

          See footnote (5) below for more details concerning Real Estate Taxes. While the legal responsibility for
                                                                                                                                   ..
                                                                                                                                   -




          Real Estate Taxes lies with each Club Member, the Club Association will collect Real Estate Taxes from

                                                                                                                              ..       ~




BS5483 .DOC

          ..                                     ..                               ..   .                             .. .
                                                                                                                              :.
         Case
         Case 1:16-cv-09390-GHW
              1:16-cv-09390-GHW Document
                                Document 141-1
                                         123-6 Filed
                                               Filed 01/10/20
                                                     10/11/19 Page
                                                              Page 39
                                                                   40 of
                                                                      of 46
                                                                         47
                                                              37


             each Club Member (which are included in the Club Charges) and remit the same on behalf of each Club
             Member to the taxing authorities. In addition to these estimated Club Charges, each Owner will be
             responsible for mortgage payments under a loan, if any, obtained to finance the purchase of the Club
             Interest.

 4.          Sponsor is offering purchase money financing (fixed-rate) to qualified Purchasers for up to ninety percent
             (90%) of the purchase price, a term of either five (5) or twenty (20) years with varying fixed interest rates
             depending on the term, amount financed and origination fee paid. The figures in this column reflect an
             example of the approximate constantly monthly payment for a self-amortizing twenty (20) year loan for
             ninety percent (90%) ofthe purchase price and an interest rate of8.85%. The terms of Purchaser's purchase
             money note, purchase money mortgage and Truth-In-Lending Statement will govern the specific terms of
             the Sponsor financing obtained by Purchaser.

             See the Section of the Offering Plan entitled "Sponsor Financing" for more details .

 5.          The estimated annual Real Estate Taxes of $547,283 for the 2006 calendar year for the Club Units are
             based upon estimates made by Jerome Haims Realty, Inc., Sponsor's real estate tax appraiser, that: (a) the
             approximate allocated assessed value of the Club Units during the second half of the 2005/2006 tax year is
             $2,142,855 in the aggregate and during the first half of the 2006/2007 tax year will be $2,27 I ,427 in the
             aggregate for a total2006 assessed value of$4,415,000 (rounded); and (b) the effective tax rate in effect for
             the First Year of Condominium Operation tax year will average $12.396 per $100 of assessed valuation
             with respect to the Club Units.

             Until the Units are separately assessed, each Unit Owner (i.e., the Club Association on behalf of all Club
             Members to the extent collected from Club Members) will pay to the Condominium a share of the
             Property's real estate taxes for the period in question calculated as follows: 81.48% to the Hotel Unit, (ii)
             2.95% to the Retail Unit, (iii) 7.77% to the Suite Units (in the aggregate), and (iv) 7.80% to the Club Units
             (in the aggregate).




BSS483.DOC
Case
Case 1:16-cv-09390-GHW
     1:16-cv-09390-GHW Document
                       Document 141-1
                                123-6 Filed
                                      Filed 01/10/20
                                            10/11/19 Page
                                                     Page 40
                                                          41 of
                                                             of 46
                                                                47
                               38




                                                                     ·.




                                                                       "·


                                                                     ... .:
                                                                          ~




                                                                              \   '


                  .                     .'                     .,
          Case
          Case 1:16-cv-09390-GHW
               1:16-cv-09390-GHW Document
                                 Document 141-1
                                          123-6 Filed
                                                Filed 01/10/20
                                                      10/11/19 Page
                                                               Page 41
                                                                    42 of
                                                                       of 46
                                                                          47
                                          39



                               SCHEDULE B- CLUB BUDGET




BS5483 .DOC
     Case
     Case 1:16-cv-09390-GHW
          1:16-cv-09390-GHW Document
                            Document 141-1
                                     123-6 Filed
                                           Filed 01/10/20
                                                 10/11/19 Page
                                                          Page 42
                                                               43 of
                                                                  of 46
                                                                     47
                                                                          .. .
                                    40                                            •.




                                                                          ·.: •




.,                 .'                     .,                    .,                 ·   ..
         Case
         Case 1:16-cv-09390-GHW
              1:16-cv-09390-GHW Document
                                Document 141-1
                                         123-6 Filed
                                               Filed 01/10/20
                                                     10/11/19 Page
                                                              Page 43
                                                                   44 of
                                                                      of 46
                                                                         47
                                         41




           FIFTH AND FIFTY-FIFTH RESIDENCE CLUB ASSOCIATION
2006 APPROVED BUDGET OF OPERATING EXPENSES & REPLACEMENT RESERVES
               JANUARY 1, 2006 THROUGH DECEMBER 31, 2006




    Income
    Maintenance Charges (1)                      $   (4,012,685)
    Interest Income (2)                                 ~62,000)
    Total Income                                 $   (4,074,685)

    Expenses
    Labor (3)                                    $     498,850
    Utilities - Electricity & Steam
    Water & Sewer
    Cable TV
    Operating Supplies (4)                             210,792
    Repairs, Maintenance & Supplies
    Service Contracts
    Laundry Service (5)                                227,111
    Administrative (6)                                 347,144
    Health Club
    Insurance (7)                                        3,000
    Management Fee (8)                                 262,512
    Legal & Audit (9)                                    6,500
    Real Estate Taxes (10)                             547,283
    Condominium Fees (11)                            1,763,159
    Replacement Reserves (12)                          208,334
    Total Expenses                              $    4,074,685
          Case
          Case 1:16-cv-09390-GHW
               1:16-cv-09390-GHW Document
                                 Document 141-1
                                          123-6 Filed
                                                Filed 01/10/20
                                                      10/11/19 Page
                                                               Page 44
                                                                    45 of
                                                                       of 46
                                                                          47
                                                    42




                                FOOTNOTES TO SCHEDULE 8
                     Residence Club Operations Commencing September 2006


                                                                                                               ·o:
     Amounts are projected on the assumption that the first year of association operation will
     be the year from January 1, 2006 to December 31, 2006. The actual first year of
     association operation may be earlier or later than that year. In the event the actual or
     anticipated commencement date of the first year of association operation is to be delayed
     by six months or more, Sponsor will amend the Plan to include a revised budget with
     current projections. If the amended budget exceeds this projected budget by 25% or
     more, Sponsor will offer all Purchasers (other than Purchasers who are then in default
     beyond any applicable grace period, if the Plan has been declared effective) the right to
     rescind their Purchase Agreements within not less than fifteen days after the presentation
     date of the amendment containing such revised budget, and any Purchasers electing
     rescission pursuant to such offer will have their down payments returned.

     The General Common Charges payable by Fractional Unit Owners equal the sum of their
     allocated shares of the General Common Expenses, including their allocated shares of the
     expenses associated with both the General Common Elements and the Hotel Limited
     Common Elements. The General Common Charges payable by the Hotel Unit Owner
     equals its allocated share of the expenses of the General Common Elements. The Hotel
     Unit Owner pays directly the expenses associated with the Hotel Limited Common
     Elements, subject to partial reimbursement by the Condominium Board on behalf of the
     Suite Unit Owners and the Fractional Unit Owners for their allocated shares of such
     expenses. The General Common Charges payable by the Retail Unit Owner equals its
     allocated share of the expenses ofthe General Common Elements. The Retail Unit does
     not use or share in the expenses of any of the Hotel Limited Common Elements. Certain
     General Common Charges are currently allocated in common to the Hotel Unit and the
     Retail Unit, which Units are currently under common ownership.

     Potential purchasers are advised that the amounts set forth in Schedule B and these
     footnotes are only projections.

     After operation of the Residence Club Association has commenced, it is anticipated that
     the methods of allocation of the General Common Expenses will be periodically adjusted
     as provided in Section 6.1.2 of the By-Laws, but not more frequently than once each
     year, to reflect the differing proportions fairly attributable to the then amount of usage by
     such category of Unit Owner of the services and the General Common Elements and
                                                                                                              ..•.
     Hotel Limited Common Elements in question, but in any event in conformity with
     Section 339-m of the New York State Real Property Law. If any category of Unit
                                                                                                          ·.·:
                                                                                                     ......
     Owners contends that any method of allocation determined by the Board is inequitable,
     the dispute may be submitted to arbitration as provided in the By-Laws.




                                                                                                     ,.
                                                                                                          ·~



                                                                                                                ...
                                                                                                               •,
                                                                                                                      '




..                      ..                            ..   .                       .   .
  Case
  Case 1:16-cv-09390-GHW
       1:16-cv-09390-GHW Document
                         Document 141-1
                                  123-6 Filed
                                        Filed 01/10/20
                                              10/11/19 Page
                                                       Page 45
                                                            46 of
                                                               of 46
                                                                  47
                                             43



General Common Expenses include costs and expenses in connection with the repair,
maintenance, replacement, restoration and operation of, and any alteration, addition or
improvement to, the General Common Elements and Hotel Limited Common Elements,
and with the provision of services to Unit Owners in general, such as service contracts
applicable to the Building as a whole, employees who will provide services to the entire
Condominium, fees of the managing agent for the Condominium, and insurance coverage
for the General Common Elements and Hotel Limited Common Elements. The General
Common Expenses are included in the Condominium Fees line item.

1. Maintenance charges billed to owners for operating expenses less other revenue:
$4,012,685. The maintenance charge for the Studio is $10,305.82, One Bedroom
$13,791.53, and Two Bedroom Deluxe units is $17,534.83 per fraction and there will be
a total of 264 fractions.

2. Interest earned on various Association accounts: $62,000

3. Labor: $498,850

All payroll costs estimated in Schedule B, unless otherwise noted in these footnotes,
assume prevailing salaries, wages and benefits for work of this nature, including
applicable payroll taxes, as ofthe date of the Plan. No warranty is made as to which
unions, if any, will represent the Building employees or the actual wages, salaries,
benefits and related payroll taxes and similar expenses which will be applicable and in
effect during the first year of condominium operation. However, the projected expenses
for wages, salaries and benefits as well as the assumptions described herein, are believed
to be reasonable and reflect the experience of the Sponsor's budget expert. The existing
union contracts are scheduled to expire in 2006, and therefore projecting such expenses
does have an additional level of uncertainty.

Payroll taxes and benefits for the first year of Residence Club Association operation are
estimated to be 59% of the wage and salary amounts. The payroll taxes and benefits
include FICA (projected at 9.25% of total wages), and allowances for union or other
welfare and pension fund contributions, holidays and vacation pay.

4. Operating Supplies: $210,792. Cost to supply rooms with soap, shampoo, linens and
other miscellaneous items, plus housekeeping supplies.

5. Laundry Service: $227,111. Cost of cleaning linen, towels and uniforms on a daily
basis.

6. Administrative: $347,144. Expenses include allocations from Starwood Vacation
Ownership for resort oversight, association management, owner reservations, and
facilities management, plus annual meeting charges, bad debt, bank & credit card fees,
income tax, licenses permits, postage and telephone.
         Case
         Case 1:16-cv-09390-GHW
              1:16-cv-09390-GHW Document
                                Document 141-1
                                         123-6 Filed
                                               Filed 01/10/20
                                                     10/11/19 Page
                                                              Page 46
                                                                   47 of
                                                                      of 46
                                                                         47
                                                  44




     7. Insurance: $3,000. This is for Directors and Officers liability coverage.

     8. Management Fee: $262,512. The management fee represents 7% ofthe total
     maintenance charges per the management agreement between Fifth and Fifty-Fifth
     Residence Club Association and St. Regis New York Management Inc.

     9. Legal & Audit: $6,500. Fees to be incurred in connection with the preparation of the
     audited financial statements for the Residence Club Association's first year of operation
     and its federal, state and city income tax returns, based on a quote received from Myers,
     Brettholtz & Company, P.A.

     10. Real Estate Taxes: $547,283. Real estate taxes are based on actual billings to the
     Hotel in 2005. The taxes include floors 8 and 9, plus a 3.4% estimated increase.

     11. Condominium Fees: $1,763,159. The General Common Expenses from the
     Condominium Association. Most of the services are provided for through the
     Condominium Association including salaries and wages for operating areas, insurance,
     repairs and maintenance, operating supplies, and utilities.

     12. Replacement Reserves: $208,334. Cost to cover the periodic replacement of the
     Club Units furnishings, fixtures and equipment based on each item's anticipated useful
     life.




                                                                                                         •




                                                                                                         . ..




                                                                                                     . .·
                                                                                                     ,
                                                                                                        ·.
..               .   .                       ..                           .. .                   .
